Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 1 of 104 PageID #:
                                    1156




                            Exhibit A
Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 2 of 104 PageID #:
                                    1157



                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  TROYCE MANASSA, individually and on
  behalf of all others similarly situated,

                      Plaintiff,

          v.
                                                            Case No. 1:20-cv-03172-RLY-MJD
  NATIONAL COLLEGIATE ATHLETIC
  ASSOCIATION,

                      Defendant.


                                 Declaration of Raymond J. Biederman

        I, Raymond J. Biederman, declare, pursuant to 28 U.S.C. §1746, under penalty of perjury

 that the following facts are true and correct:

        1.      I am an attorney licensed to practice in Indiana, and I am the Chief Executive

 Officer and Co-Founder of Proteus Discovery Group, LLC (“Proteus”). In that capacity, I have

 personal knowledge of the facts set forth in this declaration.

        2.      The NCAA consented to Proteus retaining contract attorneys as independent

 contractors to perform legal work for the NCAA as document review attorneys in the above-

 captioned lawsuit, in connection with this lawsuit’s discovery needs.

        3.      I have reviewed the declaration that Ravi Sakthivel (“Sakthivel”) submitted filed

 as Dkt. No. 104-2 in this lawsuit. Several of Sakthivel’s declaration statements are affirmatively

 inaccurate. I submit the information provided below in response to the declaration submitted by

 Sakthivel.

        4.      Proteus has no record of Sakthivel ever providing Proteus a copy of his LinkedIn

 profile at any point in time.

                                                  1
Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 3 of 104 PageID #:
                                    1158



        5.      Attached as Exhibit 1 is a true and correct copy of the October 11, 2021 application

 that Sakthivel submitted to Proteus for a position as a contract review attorney for Proteus’ clients.

 Sakthivel certified that the employment history that he disclosed in this application was true and

 correct. Specifically, Sakthivel certified to the below statement, and that he read the statement and

 understood its meaning:

        “I certify that my answers are true and complete to the best of my knowledge. If this
        application leads to my selection as an independent contractor, I understand that false or
        misleading information in my application or interview may result in my release.”

        6.      Attached as Exhibit 2 is a true and correct copy of the January 31, 2022 application

 that Sakthivel submitted to Proteus for a position as a contract review attorney for the NCAA in

 this lawsuit responding to the document request served by Fegan Scott (the “Manassa Project”).

 Like his first application to Proteus, Sakthivel certified again that the employment history that he

 disclosed in his application to Proteus for the Manassa Project was true and correct. Sakthivel

 certified to the below statement, and that he read the statement and understood its meaning:

        “I certify that my answers are true and complete to the best of my knowledge. If this
        application leads to my selection as an independent contractor, I understand that false or
        misleading information in my application or interview may result in my release.”

        7.      On March 2, 2022, a Proteus team member sent Sakthivel an email notifying him

 that Proteus received all of his onboarding materials except for his Independent Contractor

 Agreement. Proteus requested that Sakthivel complete the Independent Contractor Agreement

 directly. A true and correct copy of this email is attached as Exhibit 3. I attached a true and correct

 copy of the Independent Contractor Agreement that Sakthivel filled out as Exhibit B-2 to my May

 20, 2022 declaration filed in this lawsuit, see Dkt. No 101-2. The Independent Contractor

 Agreement that Sakthivel signed contains his broad affirmation that no actual or potential conflict

 of interest existed with Sakthivel performing legal work for the NCAA.



                                                   2
Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 4 of 104 PageID #:
                                    1159



        8.      After Sakthivel completed his onboarding paperwork, which included, among other

 things, Sakthivel’s written confirmation that no actual or potential conflict of interest existed in

 any manner that would preclude his review, analysis, or coding of documents provided by the

 NCAA, Proteus sent Sakthivel the “Proteus Discovery Group – NCAA Manassa Document

 Review Welcome Email and Project Information.” A true and correct copy of this document

 attached as Exhibit 4.

        9.      Among other things, the welcome email attached as Exhibit 4 informed Sakthivel

 that the Manassa Project document review protocol and supplemental documents would be

 distributed by email and posted on Microsoft Teams. Sakthivel was provided access to, and used

 the Manassa Project Microsoft Teams page.

        10.     The document review protocol attached copies of this lawsuit’s Complaint and the

 request for production served by Fegan Scott as Exhibits D and E respectively. Those exhibits

 were placed on the Manassa Project’s Microsoft Teams page under the Files section on March 3,

 2022, as shown by a true and correct copy of the screenshot listed on the page below.




                                                  3
Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 5 of 104 PageID #:
                                    1160




        11.     True and correct copies of the Complaint and Requests for Production that Proteus

 attached as Exhibits D and E to the Manassa Project document review protocol that Sakthivel

 received each conspicuously identify Fegan Scott LLC and specifically Beth Fegan as Plaintiff’s

 counsel in this lawsuit. I have attached these documents as Exhibits 5 and 6 to this declaration.

        I declare under penalty of perjury that the foregoing is true and correct.

 Executed on June 3, 2022.

                                                      __________________________
                                                      Raymond J. Biederman




                                                  4
Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 6 of 104 PageID #:
                                    1161




                            Exhibit 1
         Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 7 of 104 PageID #:
                                             1162                      eDiscovery Document Review Attorney
   eDiscovery Document Review Attorney
   Ravi Sakthivel
   Monday, October 11, 2021 1:17 PM
   Requisition Id: 1486461


* Indicates a required field




   Applicant Information


   First Name *        Last Name *

       Ravi                Sakthivel


   Street Address                           City *               State or Province *

       9669 West Canyon Terrace                 San Diego          California


   Zip/Postal Code *           Country *

       92123                     UNITED STATES



   Primary Email Address *

       rksakthivellaw@gmail.com


   Primary Phone Number *              Type *          Secondary Phone Number          Type

       9253909125                          Mobile                                          Mobile

                                           Home                                            Home

                                           Work                                            Work

                                           Other                                           Other




   Attorney License Information


   Are you licensed to practice law in at least one U.S. State or Jurisdiction? *

        Yes

        No



   1. Attorney License State *          Attorney License Number *        Is this license Active in Good Standing? *

       CA                                  256327                               Yes

                                                                                No

   Please copy and paste the URL for the webpage containing your name and state license number.

       http://members.calbar.ca.gov/fal/Licensee/Detail/256327


   2. Attorney License State           Attorney License Number        Is this license Active in Good Standing?

                                                                          Yes

                                                                          No

   Please copy and paste the URL for the webpage containing your name and state license number.
            Case 1:20-cv-03172-RLY-MJD
3. Attorney License State
                        Attorney License Number Document         108-1
                                                Is this license Active      Filed
                                                                       in Good      06/03/22 Page 8 of 104 PageID #:
                                                                               Standing?

                                                     Yes         1163
                                                                No

Please copy and paste the URL for the webpage containing your name and state license number.




Document Review Experience


Do you have any prior Electronic Document Review experience ? *       How many years have you worked as a Document Reviewer? *

    Yes                                                                    NONE

    No                                                                     Less than 1 Year

                                                                           1-2 Years

                                                                           More than 2 Years



What Document Review software/platform(s) have you used in the past? [Choose All That Apply] *

    NONE

    Relativity

    Everlaw

    Logikcull

    Viewpoint

    Ringtail

    DISCO

    Other

What tasks/roles have you performed as a document reviewer in the past? *

    NONE

    First Pass Review

    Quality Control (QC) Review

    Privilege Review

    Creating Privilege Log Entries

    Team Lead

    Project Manager




Employment History




   Company Name            Company Phone




   Address       City       State




   Position Title                    Description, Duties, and Responsibilities
     Document Review Attorney



   Start Date           End Date
        Case 1:20-cv-03172-RLY-MJD
 4/1/2016      9/14/2021           Document 108-1 Filed 06/03/22 Page 9 of 104 PageID #:
                                            1164
                       Present



Supervisor's Name        May we contact for a reference?

                                  Yes

                                  No

                                  Later


Reason for Leaving




Company Name          Company Phone




Address      City      State




Position Title               Description, Duties, and Responsibilities
 Managing Director



Start Date          End Date
 8/18/2021           9/1/2021


                        Present



Supervisor's Name        May we contact for a reference?

                                  Yes

                                  No

                                  Later


Reason for Leaving




Company Name                 Company Phone
 Imagine Reporting



Address      City                 State
                 San Diego          California



Position Title



Description, Duties, and Responsibilities
 Manage all contract reviews and negotiations with customers, suppliers, and vendors. Provide legal advice and recommendations on applicable laws and risk
 mitigation strategies. Interpret and analyze contract documents to review, evaluate, and accept or reject customer requests.


Start Date          End Date
 12/1/2018           11/1/2019


                        Present
       Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 10 of 104 PageID #:
Supervisor's NameMay we contact for a reference? 1165
                                     Yes

                                     No

                                     Later


Reason for Leaving




Company Name           Company Phone
 Arcana Inc



Address       City                State
                 Denver             Colorado



Position Title
 Legal Compliance O?icer

Description, Duties, and Responsibilities
 Led the legal review of assignment provisions during a corporate restructure to mitigate legal risk. Reviewed and negotiated master service, professional
 services, and software licensing agreements. Researched and updated the company privacy policy to comply with recent regulatory changes. Increased
 document review e?iciency by developing and implementing a new E-Signature procedure.


Start Date           End Date
 4/15/2016            11/15/2017


                          Present



Supervisor's Name          May we contact for a reference?

                                     Yes

                                     No

                                     Later


Reason for Leaving




Company Name           Company Phone
 TransLegal


Address       City        State
                           Shanghai


Position Title

 Senior Legal Director

Description, Duties, and Responsibilities
 Designed and implemented legal strategies to meet goals and support business objectives at the executive-level. Analyzed legal processes and procedures to
 identify areas of improvement and develop updates to increase operational e?iciency, productivity, and quality.


Start Date            End Date
 12/27/2014            4/13/2016


                           Present
      Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 11 of 104 PageID #:
Supervisor's Name May we contact for a reference?
                                                  1166
                                     Yes

                                     No

                                     Later


Reason for Leaving




Company Name                         Company Phone
 Camacho and Associates



Address       City                State
                 Camacho



Position Title                        Description, Duties, and Responsibilities

 Senior Managing Attorney                  Managed land acquisition and cellular tower leases for Verizon Wireless, T Mobile and AT and T


Start Date           End Date
 7/15/2012            12/20/2014


                        Present



Supervisor's Name          May we contact for a reference?

                                     Yes

                                     No

                                     Later


Reason for Leaving




Company Name           Company Phone
 Weitz



Address       City                    State
                 Los Angeles               California



Position Title         Description, Duties, and Responsibilities
 Sta? Attorney           Los Angeles, California Litigated foreclosure defense, unlawful detainer, and bankruptcy cases in CA and Federal jurisdictions.



Start Date            End Date
 12/20/2009            7/10/2012


                           Present



Supervisor's Name          May we contact for a reference?

                                     Yes

                                     No
            Case 1:20-cv-03172-RLY-MJD
                           Later
                                       Document 108-1 Filed 06/03/22 Page 12 of 104 PageID #:
                                                1167
   Reason for Leaving




   Company Name              Company Phone
     Grewal



   Address       City                   State
                     Stockton            California



   Position Title

     Associate Attorney

   Description, Duties, and Responsibilities
     Led Federal Immigration Law case management. Dra legal memoranda, performed legal and case research, and represented petitioners in Asylum Hearings
     and Citizenship Interviews.


   Start Date           End Date
     1/1/2007            12/15/2009


                              Present



   Supervisor's Name             May we contact for a reference?

                                         Yes

                                         No

                                         Later


   Reason for Leaving




Education




   School or Institution                Degree         Major/Discipline   End Date
     University of the Pacific            N/A


                                                                              Present



   Location         Did you Graduate?            GPA

                        Yes

                        No




   School or Institution                Degree         Major/Discipline   End Date
     University of California            N/A


                                                                             Present



   Location              Did you Graduate?             GPA
          Case 1:20-cv-03172-RLY-MJD
     Santa Cruz
                    Yes              Document 108-1 Filed 06/03/22 Page 13 of 104 PageID #:
                                              1168
                           No




Applicant Agreement




   I certify that my answers are true and complete to the best of my knowledge. If this application leads to my selection as an independent contractor, I understand
   that false or misleading information in my application or interview may result in my release.



   First and Last Name *        Today's Date *

      Ravi Sakthivel              10/11/2021


   Please confirm you read and understand the above. *

       I Agree
Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 14 of 104 PageID #:
                                    1169




                            Exhibit 2
         Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 15 of 104 PageID #:
                                             1170                       eDiscovery Document Review Attorney
   eDiscovery Document Review Attorney
   Ravi Sakthivel
   Monday, January 31, 2022 12:31 PM
   Requisition Id: 1486461


* Indicates a required field




   Applicant Information


   First Name *        Last Name *

       Ravi                Sakthivel


   Street Address                           City *               State or Province *

       9669 West Canyon Terrace                 San Diego           California


   Zip/Postal Code *           Country *

       92123                     UNITED STATES



   Primary Email Address *

       ravisakthivel@gmail.com


   Primary Phone Number *              Type *          Secondary Phone Number          Type

       9253909125                          Mobile                                          Mobile

                                           Home                                            Home

                                           Work                                            Work

                                           Other                                           Other




   Attorney License Information


   Are you licensed to practice law in at least one U.S. State or Jurisdiction? *

        Yes

        No



   1. Attorney License State *          Attorney License Number *        Is this license Active in Good Standing? *

       CA                                  256327                                Yes

                                                                                 No

   Please copy and paste the URL for the webpage containing your name and state license number.

       https://apps.calbar.ca.gov/attorney/Licensee/Detail/256327


   2. Attorney License State           Attorney License Number        Is this license Active in Good Standing?

                                                                           Yes

                                                                           No

   Please copy and paste the URL for the webpage containing your name and state license number.
            Case 1:20-cv-03172-RLY-MJD
                        Attorney License Number Document
3. Attorney License State                                        108-1
                                                 Is this license Active      Filed
                                                                        in Good     06/03/22 Page 16 of 104 PageID #:
                                                                                Standing?

                                                      Yes         1171
                                                              No

Please copy and paste the URL for the webpage containing your name and state license number.




Document Review Experience


Do you have any prior Electronic Document Review experience ? *    How many years have you worked as a Document Reviewer? *

    Yes                                                                NONE

    No                                                                 Less than 1 Year

                                                                       1-2 Years

                                                                       More than 2 Years



What Document Review software/platform(s) have you used in the past? [Choose All That Apply] *

    NONE

    Relativity

    Everlaw

    Logikcull

    Viewpoint

    Ringtail

    DISCO

    Other

What tasks/roles have you performed as a document reviewer in the past? *

    NONE

    First Pass Review

    Quality Control (QC) Review

    Privilege Review

    Creating Privilege Log Entries

    Team Lead

    Project Manager




Employment History




   Company Name                Company Phone
     Imagine Reporting



   Address       City       State




   Position Title
     Managing Director

   Description, Duties, and Responsibilities
      Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 17 of 104 PageID #:
 Manage all contract reviews and negotiations with customers, suppliers, and vendors. Provide legal advice and recommendations on applicable laws and risk
                                                                             1172 and accept or reject customer requests.
 mitigation strategies. Interpret and analyze contract documents to review, evaluate,


Start Date          End Date
 1/1/2018            12/31/2019


                       Present



Supervisor's Name        May we contact for a reference?

                                  Yes

                                  No

                                  Later


Reason for Leaving




Company Name                            Company Phone

 Catalyst Repository Systems


Address      City       State




Position Title
 Document Review Attorney

Description, Duties, and Responsibilities
 Analyzed complex legal documents including emails, contracts, spreadsheets and other financial documents. Determined which issues applied to each
 document and coded the documents accordingly. Reviewed and determined if the document was responsive to the issues in the case and determined if any
 type of attorney-client privilege applied.


Start Date          End Date
 1/1/2016            12/31/2019


                       Present



Supervisor's Name        May we contact for a reference?

                                  Yes

                                  No

                                  Later


Reason for Leaving




Company Name           Company Phone

 Epiq



Address      City       State




Position Title
 Document Review Attorney
       Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 18 of 104 PageID #:
Description, Duties, and Responsibilities
                                           1173
 Conducted advanced and last pass privilege review. Utilized Relativity to scan documents for statements against interest. Assisted in preparing documents for
 production. Reviewed documents produced by opposing counsel for content, relevance and importance.


Start Date           End Date
 1/1/2016             12/31/2019


                         Present



Supervisor's Name          May we contact for a reference?

                                   Yes

                                   No

                                   Later


Reason for Leaving




Company Name            Company Phone
 Arcana Inc



Address       City       State




Position Title
 Legal Compliance O?icer

Description, Duties, and Responsibilities
 Led the legal review of assignment provisions during a corporate restructure to mitigate legal risk. Reviewed and negotiated master service, professional
 services, and so ware licensing agreements. Researched and updated the company privacy policy to comply with recent regulatory changes. Increased
 document review e?iciency by developing and implementing a new E-Signature procedure.


Start Date           End Date
 1/1/2016             12/31/2017


                         Present



Supervisor's Name          May we contact for a reference?

                                   Yes

                                   No

                                   Later


Reason for Leaving




Company Name            Company Phone
 TransLegal


Address       City       State




Position Title
 Senior Legal Director
      Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 19 of 104 PageID #:
Description, Duties, and Responsibilities
                                                                         1174
 Designed and implemented legal strategies to meet goals and support business objectives at the executive-level. Analyzed legal processes and procedures to
 identify areas of improvement and develop updates to increase operational e?iciency, productivity, and quality. Dra ed and negotiated complex and high-risk
 contracts as a hands-on leader.


Start Date          End Date
 1/1/2014            12/31/2016


                       Present



Supervisor's Name          May we contact for a reference?

                                    Yes

                                    No

                                    Later


Reason for Leaving




Company Name                        Company Phone
 Camacho and Associates



Address      City                  State
                 Camacho



Position Title                       Description, Duties, and Responsibilities
 Senior Managing Attorney                 Managed land acquisition and cellular tower leases for Verizon Wireless, T Mobile and AT and T



Start Date          End Date
 1/1/2012            12/31/2014


                       Present



Supervisor's Name          May we contact for a reference?

                                    Yes

                                    No

                                    Later


Reason for Leaving




Company Name           Company Phone

 Weitz


Address      City                State
                 Jackson


Position Title         Description, Duties, and Responsibilities
 Sta? Attorney             Litigated foreclosure defense, unlawful detainer, and bankruptcy cases in CA and Federal jurisdictions.


Start Date          End Date
       Case 1:20-cv-03172-RLY-MJD
 1/1/2009     12/31/2012          Document 108-1 Filed 06/03/22 Page 20 of 104 PageID #:
                                           1175
                       Present



Supervisor's Name        May we contact for a reference?

                                  Yes

                                  No

                                  Later


Reason for Leaving




Company Name           Company Phone
 Grewal


Address      City       State




Position Title
 Associate Attorney

Description, Duties, and Responsibilities
 Led Federal Immigration Law case management. Dra legal memoranda, performed legal and case research, and represented petitioners in Asylum Hearings
 and Citizenship Interviews.


Start Date          End Date
 1/1/2007            12/31/2009


                       Present



Supervisor's Name        May we contact for a reference?

                                  Yes

                                  No

                                  Later


Reason for Leaving




Company Name                                 Company Phone
 Robbins Geller Rudman and Dowd LLP



Address      City       State




Position Title
 Document Review Attorney

Description, Duties, and Responsibilities
 Reviewed documents and analyzed content for responsiveness to requests for production, advancing to the QC team and the privilege review. Guided legal
 team and examined team members' document analysis for accuracy, providing feedback on improving production quality. Prepared privilege log, preserving
 attorney-client and work product privilege.
            Case 1:20-cv-03172-RLY-MJD
   Start Date     End Date             Document 108-1 Filed 06/03/22 Page 21 of 104 PageID #:
     1/1/2019                                   1176

                           Present



   Supervisor's Name         May we contact for a reference?

                                     Yes

                                     No

                                     Later


   Reason for Leaving




   Company Name            Company Phone

     TCDI


   Address      City       State




   Position Title                         Description, Duties, and Responsibilities
     Document Review Attorney


   Start Date          End Date
     1/1/2017


                           Present



   Supervisor's Name         May we contact for a reference?

                                     Yes

                                     No

                                     Later


   Reason for Leaving




Education




   School or Institution                                      Degree                  Major/Discipline   End Date
     University of the Pacific McGeorge School of Law           Doctorate Degree       Law


                                                                                                            Present



   Location              Did you Graduate?         GPA
     Sacramento              Yes

                             No
          Case 1:20-cv-03172-RLY-MJD
   School or InstitutionDegree            Document 108-1
                                          Major/Discipline        Filed 06/03/22 Page 22 of 104 PageID #:
                                                             End Date
     University of California
                         Bachelors Degree  History         1177

                                                                                          Present



   Location             Did you Graduate?          GPA
     Santa Cruz             Yes

                            No




Applicant Agreement




   I certify that my answers are true and complete to the best of my knowledge. If this application leads to my selection as an independent contractor, I understand
   that false or misleading information in my application or interview may result in my release.



   First and Last Name *          Today's Date *

      Ravi Sakthivel                1/31/2022


   Please confirm you read and understand the above. *

       I Agree
Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 23 of 104 PageID #:
                                    1178




                            Exhibit 3
        Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 24 of 104 PageID #:
                                            1179

Mappin, Wes

From:                               Scott Collins <scott.collins@proteusdiscovery.com>
Sent:                               Wednesday, March 2, 2022 1:23 PM
To:                                 ravisakthivel@gmail.com
Subject:                            Proteus Discovery Doc Review Project Offer and Onboarding Materials


Ravi,

I’ve received all of your onboarding materials except for your Independent Contractor Agreement. You can fill this out
by using your onboarding credentials and submitting the paperwork directly through ClearCompany. This will need to
be submitted in order for your paperwork to be complete. Please do so at your earliest convenience, and let me know if
you have any questions or concerns.

Sincerely,
                 Scott Collins   Senior Project Manager/Associate Attorney


                                 Proteus Discovery Group LLC
                                 155 E. MARKET ST., SUITE 400
        www.Go‐Proteus.com       INDIANAPOLIS, IN 46204
                                 DIRECT: 317‐614‐7335
                                 SCOTT.COLLINS@PROTEUSREVIEW.COM




                                                               1
Case 1:20-cv-03172-RLY-MJD Document 108-1 Filed 06/03/22 Page 25 of 104 PageID #:
                                    1180




                            Exhibit 4
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                                                                        06/03/22 Page 26 of 104 PageID #:

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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

  TROYCE MANASSA, AUSTIN DASENT,
  and J’TA FREEMAN, individually and on
  behalf of all others similarly situated,

               Plaintiffs,                         No. 1:20-cv-3172

        v.                                         JURY TRIAL DEMANDED

  NATIONAL COLLEGIATE ATHLETIC
  ASSOCIATION; THE BOARD OF
  GOVERNORS OF THE NATIONAL
  COLLEGIATE ATHLETIC ASSOCIATION;
  and THE DIVISION I BOARD OF
  DIRECTORS OF THE NATIONAL
  COLLEGIATE ATHLETIC ASSOCIATION,

               Defendants.


                              CLASS ACTION COMPLAINT
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          Plaintiffs Troyce Manassa, Austin Dasent, and J’TA Freeman on behalf of themselves and

  all others similarly situated and by and through their attorneys, for their Complaint against

  Defendants the National Collegiate Athletic Association (“NCAA”), the Board of Governors of

  the National Collegiate Athletic Association, and the Division I Board of Directors of the National

  Collegiate Athletic Association, allege as follows:

                                          I.       INTRODUCTION

          1.       The NCAA proclaims in its Constitution:

                   The Association shall promote an atmosphere of respect for and
                   sensitivity to the dignity of every person. It is the policy of the
                   Association to refrain from discrimination with respect to its
                   governance policies, educational programs, activities and
                   employment policies including on the basis of age, color, disability,
                   gender, national origin, race, religion, creed or sexual orientation.

  NCAA Const., Art. 2.6.

          2.       Such a creed should allow Historically Black Colleges and Universities

  (“HBCUs” 1), defined as “any historically black college or university that was established prior to

  1964, whose principal mission was, and is, the education of black Americans,” and their students

  to thrive in the NCAA. Focused on a community that has been historically left behind, HBCUs

  largely enroll low-income, first-generation, and historically-disadvantaged Black 2 students.

          3.       However, despite the NCAA’s fundamental promise to “refrain” from

  discriminating based on race in educational programs, the NCAA has a long history of

  discriminating against Black student-athletes and teams at HBCUs through implementation of its

  so-called academic reforms.




  1
    20 U.S.C. §§ 1060, 1061(2).
  2
   We use the term “Black” throughout this Complaint to represent African Americans, individuals of African
  descent, and/or Black people.

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             4.   Most recently, the NCAA designed and implemented the Academic Performance

  Program (“APP”), which penalizes a team if it does not meet or exceeds a threshold number of

  points based on the team members’ academic performance and other indicators. Highest tier

  penalties include banning a team from postseason competition.

             5.   The formula on which the APP is based includes metrics that the NCAA knew

  would discriminate against Black student-athletes at HBCUs.

             6.   The NCAA’s design and implementation of the APP perpetuates a system that

  punishes Black student-athletes at HBCUs because of the HBCUs’ unique and historical role in

  the education of Blacks within the systemic vestiges of discrimination. In fact, the NCAA has

  admitted that “a higher proportion of HBCU teams have been subject to APP penalties” than

  Predominantly White Institutions (“PWI”).

             7.   An HBCU team is 43 times more likely to receive a postseason competition ban

  than a PWI team. While just 6.5% of NCAA Division I schools are HBCUs (23 out of 350), 72%

  of the teams that have been banned from postseason competition since 2010 are from HBCUs (114

  of 159).

             8.   This substantial impact is more than a random or indirect consequence of the

  NCAA’s well-intentioned policies. One commentator called the APP “polite racism.” We call it

  illegal.

             9.   The NCCA’s adoption and continued enforcement of the APP, including its penalty

  structure and postseason access bans, together with the NCAA’s prior academic propositions and

  reforms, represent a pattern or practice of intentional discrimination against Black student-athletes

  at HBCUs on the basis of race.




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         10.       Plaintiffs are Blacks who were or are NCAA student-athletes at HBCUs on teams

  that were or are at risk of being banned from postseason competition because of the APP. They

  bring this action on behalf of themselves and all other current and former Black student-athletes

  at HBCUs for racial discrimination in violation of 42 U.S.C. § 1981, 42 U.S.C. § 1985, and the

  District of Columbia Human Rights Act, D.C. Code § 2-1401.01 et seq.

                                II.     JURISDICTION AND VENUE

         11.       Plaintiffs bring claims pursuant to 42 U.S.C. §§ 1981, 1985. This Court has subject

  matter jurisdiction over the Plaintiffs’ claims pursuant to 28 U.S.C. § 1331.

         12.       This Court also has subject matter jurisdiction over this action pursuant to 28 U.S.C.

  § 1332, as amended by the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2), because (a) there

  are at least 100 class members; (b) the matter in controversy exceeds $5 million, exclusive of

  interest and costs; (c) at least one Plaintiff is a citizen of a different state than at least one

  Defendant; and (d) members of the class, including Plaintiffs, are citizens of a state and at least

  one of the Defendants is a citizen or subject of a foreign state.

         13.       The Court also has supplemental jurisdiction over state law claims pursuant to 28

  U.S.C. § 1367.

         14.       This Court has personal jurisdiction over the NCAA as an unincorporated

  association residing and conducting operations in this District. For these same reasons, this Court

  has personal jurisdiction over the Board of Governors of the NCAA.

         15.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because the NCAA

  and its Board of Governors reside in this District.




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                                          III.     PARTIES

           A.       Plaintiffs

         16.       Mr. Troyce Manassa is a resident of Charlotte, North Carolina and citizen of the

  United States.

         17.       He is a former NCAA Black student-athlete who played basketball at HBCU

  Savannah State University (“SSU”), located in Savannah, Georgia, during the 2015/2016 and

  2016/2017 seasons, his junior and senior years, respectively.

         18.       Mr. Manassa was a guard on the SSU men’s basketball team.

         19.       Prior to playing basketball at SSU, he signed a National Letter of Intent. He

  received a full athletic scholarship from SSU.

         20.       Mr. Manassa was unaware of SSU’s NCAA penalties, including ban from

  postseason play until, after he committed to and arrived at SSU.

         21.       SSU finished in fifth place in the MEAC in 2015/16. They advanced to the

  semifinals in the postseason MEAC tournament.

         22.       During the 2016/17 season, Mr. Manassa’s senior year, SSU’s men’s basketball

  team was banned from postseason play by the NCAA’s APP rules.

         23.       At the end of SSU’s regular 2016/17 basketball season, SSU finished fifth in the

  Mid-Eastern Athletic Conference (“MEAC”).

         24.       Because of the NCAA postseason ban against SSU, the team was unable to

  participate in postseason competition, including the MEAC tournament.

         25.       The winner of the MEAC postseason championship during the 2016/17 season was

  North Carolina Central.

         26.       SSU defeated North Carolina Central in regular season play.



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          27.      During the last game of SSU’s regular season, Mr. Mannasa scored 42 points and

  he was one of the leading scorers in the conference.

          28.      Mr. Manassa was named to the preseason All-MEAC third team.

          29.      Mr. Manassa was just shy of a 1000-point career before the postseason ban was

  imposed.

          30.      Mr. Manassa intends to continue his basketball career overseas in 2021.

          31.      Mr. Austin Dasent is a resident of Charlotte, North Carolina and citizen of the

  United States.

          32.      He is a former NCAA Black student-athlete who played basketball at HBCU SSU,

  located in Savannah, Georgia, during the 2016/17 and 2017/2018 seasons, his junior and senior

  years, respectively.

          33.      Mr. Dasent was a point guard and shooting guard on the SSU men’s basketball

  team.

          34.      Prior to playing basketball at SSU, he signed a National Letter of Intent. He

  received a full athletic scholarship from SSU.

          35.      Mr. Dasent transferred to SSU from a junior college in 2016.

          36.      Mr. Dasent was unaware of SSU’s NCAA penalties, including ban from postseason

  play until after he committed to and arrived at SSU.

          37.      During the 2016/17 season, Mr. Dasent’s junior year and first year at SSU, SSU’s

  men’s basketball team was banned from postseason play by the NCAA’s APP rules.

          38.      At the end of SSU’s regular 2016/17 basketball season, SSU finished fifth in the

  MEAC.




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         39.        Because of the NCAA postseason ban against SSU, the team was unable to

  participate in postseason competition, including the MEAC tournament.

         40.        The winner of the MEAC postseason championship during the 2016-17 season was

  North Carolina Central.

         41.        SSU defeated North Carolina Central in regular season play.

         42.        Mr. Dasent played in the 2017-18 basketball season. At the end of the regular

  season, SSU finished in first place in a three-way tie and won the MEAC regular season

  championship.

         43.        Entering the MEAC postseason tournament, SSU was seeded third and lost in the

  quarterfinals.

         44.        SSU dropped from Division I to Division II in 2019, citing financial reasons and

  NCAA penalties.

         45.        After graduating from SSU, Mr. Dasent played basketball overseas for a brief

  period of time.

         46.        Mr. Dasent is currently providing private basketball coaching and training to youth

  basketball teams and players.

         47.        Ms. J’TA Freeman is a resident of the District of Columbia and a citizen of the

  United States.

         48.        Ms. Freeman received a full athletic scholarship to HBCU Howard University in

  Washington, DC.

         49.        Ms. Freeman enrolled at Howard University as a freshman in the Fall of 2019.




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            50.    Ms. Freeman is an NCAA Black student-athlete for Howard University women’s

  lacrosse team. She played during the 2019/2020 season and intends to play during the 2021/2022

  season.

            51.    Ms. Freeman declined other college scholarship offers to play for Howard

  University.

            52.    Ms. Freeman was unaware that Howard University’s womens’ lacrosse team has

  been banned from post season play in the past by NCAA.

            53.    Ms. Freeman and her lacrosse team are at risk of being banned from postseason

  play by the NCAA’s current rules.

             B.      Defendants

            54.    Defendant NCAA is an unincorporated association that acts as the governing body

  of college sports. Its principal office is in Indianapolis, Indiana. According to its 2018 IRS Form

  990, the most recent one publicly available, its gross receipts were $1,222,405,932 and net assets

  were $425,995,451.

            55.    In 1952, the NCAA imposed rulemaking and enforcement authority over its

  members. 3 Today, its Constitution, Bylaws, and regulations dictate member institution and

  student-athlete conduct, ethics, and eligibility. NCAA staff are empowered to issue binding

  interpretations of NCAA rules.

            56.    An “NCAA 101” fact sheet published by the NCAA explains that “[t]he National

  Collegiate Athletic Association is a member-led organization dedicated to the well-being and

  lifelong success of college athletes.” 4 “The 500 employees at the NCAA’s Indianapolis



  3
    “Joint Stipulation of Facts Concerning the NCAA,” In re National Collegiate Athletic Association Athletic Grant-
  in-Aid Cap Antitrust Litig., Case No. 4:14-md-02541-CW, Dkt. 1098 at ¶ 23 (N.D. Cal. October 15, 2018).
  4
    NCAA, What is the NCAA?, NCAA, http://www.ncaa.org/about/resources/media-center/ncaa-101/what-ncaa (last
  visited November 22, 2020).

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  headquarters interpret and support member legislation, run all championships and manage

  programs that benefit student-athletes.” 5

          57.     Defendant NCAA Board of Governors is currently comprised of the following

  voting members: Philip DiStefano, Chancellor University of Colorado at Boulder; Randy

  Woodson, Chancellor North Carolina State University; Burns Hargis, President Oklahoma State

  University; Denise Trauth, President Texas State University; Jere Morehead, President University

  of Georgia; Renu Khator, President University of Houston; Satish Tripathi, President the State

  University of New York at Buffalo; M. Grace Calhoun, Athletic Director University of

  Pennsylvania; David Wilson, President Morgan State University; Rita Hartung Cheng, President

  Northern Arizona University; James Harris, President University of San Diego; John DeGioia,

  President Georgetown University; Rebecca Blank, Chancellor University of Wisconsin-Madison;

  Christopher Graham, Commissioner Rocky Mountain Athletic Conference; Allison Garrett,

  President Emporia State University; Sandra Jordan, President University of South Carolina at

  Aiken; Heather Benning, Commissioner Midwest Conference; Fayneese Miller President Hamline

  University; Tori Murden McClure, President Spalding University; Vivek Murthy, 19th Surgeon

  General of the United States; Ken Chenault, General Catalyst; Mary Sue Coleman, President

  Association of American Universities; Grant Hill, Atlanta Hawks; and Robert Gates, Former

  Secretary of Defense. NCAA President, Mark Emmert, is permitted to vote in the case of a tie

  among the voting members present and voting. 6 Hereinafter, unless otherwise specified, NCAA

  and its Board of Governors are collectively referred to as “NCAA.”




  5
   Id.
  6
   NCAA, Board of Governors, NCAA,
  http://web1.ncaa.org/committees/committees_roster.jsp?CommitteeName=EXEC (last visited November 22, 2020).

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         58.     Defendant NCAA Board of Governors is the highest governance body in the NCAA

  and is composed of institutional chief executive officers that oversee association-wide issues. The

  Board is charged with ensuring that each division of the NCAA “operates consistently with the

  basic purposes, fundamental policies and general principles of the Association.” 7

         59.     The NCAA Board of Governors, “the highest-ranking committee in the

  Association, can implement policies by which all three divisions must abide,” and “acts on behalf

  of the Association by adopting and implementing policies to resolve core issues and other

  Association wide rules.” 8

         60.     The NCAA website explains the Board of Governor’s ability to implement rules as

  follows: “Each division governs its day-to-day needs, but on broad issues that affect college

  athletics as a whole, the NCAA Board of Governors and a collection of committees set the course

  for the Association.” 9 It continues:

                 While each NCAA division is empowered with setting its own rules
                 and operating guidelines, some topics rise to a level affecting
                 college sports as a whole and need a coordinated voice to guide the
                 Association in a unified direction…. The NCAA Board of
                 Governors, the highest-ranking committee in the Association, can
                 implement policies by which all three divisions must abide. When
                 the NCAA stopped allowing schools to host championships if their
                 state governments displayed the Confederate flag, it was through a
                 Board of Governors policy change. 10

         61.     Defendant NCAA Division I Board of Directors (“Board”) is currently comprised

  of the following members: Philip DiStefano, Chancellor of University of Colorado at Boulder;

  Randy Woodson, Chancellor of North Carolina State University; Rebecca Blank, Chancellor of



  7
    NCAA, NCAA Board of Governors, NCAA, http://www.ncaa.org/governance/committees/ncaa-board-governors
  (last visited November 22, 2020).
  8
    Amy Winner Schwarb, How the NCAA works, NCAA, http://www.ncaa.org/champion/how-ncaa-works (last
  visited November 22, 2020).
  9
     Id.
  10
      Id.

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  University of Wisconsin-Madison; Burns Hargis, President of Oklahoma State University; Denise

  Trauth, President of Texas State University; Jere Morehead, President of University of Georgian;

  Mary Papzian, President of San Jose University; Renu Khator, President of University of Houston;

  Satish Tripathi, President of University at Buffalo, the State University of New York; M. Grace

  Calhoun, Athletic Director of University of Pennsylvania; Christina H. Paxon, President of Brown

  University; David Wilson, President of Morgan State University; Philip Oldham, President of

  Tennessee Technological University; Rita Hartung Cheng, President of Northern Arizona

  University; W. Taylor Reveley IV, President of Longwood University; Adrianne Swinney, Senior

  Woman Administrator and Chief Operating Officer of University of Connecticut; Jeri Beggs, FAR

  of Illinois State University; Dean Bresciani, President of North Dakota State University; Guy

  Bailey, President of The University of Texas Rio Grande Valley; James Harris, President of

  University of San Diego; John DeGioia, President of Georgetown University; Harlan Sands,

  President of Cleveland State University; and Neal Smatresk, President of University of North

  Texas.

             62.      Since 1973, the NCAA’s member schools have been organized into three

  divisions—Division I, Division II, and Division III. Each Division has a particular set of rules and

  guidelines governing athletics. 11

             63.      Division I (“DI”), the most prestigious division, contains approximately 350 of the

  NCAA’s 1200 member schools. It is governed by a Division I Council (comprised of DI sports

  practitioners) and a Board of Directors (comprised of 12 presidents and chancellors from each

  conference) and includes numerous committees. The DI Committee on Academics has the

  “primary academic authority for Division I, managing eligibility standards and the Academic



  11
       Schwarb, supra, n. 8.

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  performance Program,” reports to the DI Board of Directors, and can recommend legislation to the

  DI Council. 12 The Board is responsible for enacting policy and legislation that governs DI.

          64.      DI includes two levels of football: the Football Bowl Subdivision (“FBS”) and the

  Football Championship Subdivision (“FCS”). Within DI there are 32 conferences, each of which

  may enact and enforce conference-specific rules, as long as they are consistent with the NCAA

  Constitution and bylaws.

          65.      The most prestigious level of DI football competition—FBS—contains ten athletic

  conferences and seven independent schools. The five top FBS conferences: the Atlantic Coast

  conference (“ACC”), Big Ten Conference, Big 12 Conference, Pac-12 Conference, and

  Southeastern Conference (“SAC”) are known by the moniker: the “Power Five.” The remaining

  DI-FBS schools are referred to as the “Group of Five.”

          66.      At all relevant times, each Defendant acted in all aspects as the agent and alter ego

  of the other, Defendants carried out a joint scheme, business plan, or policy in all respects pertinent

  thereto, and the acts of each Defendant are legally attributable to the other Defendant(s).

  Accordingly, Plaintiffs collectively refer to the Defendants (including the Board of Governors and

  Division I Board of Directors) as “NCAA.”




  12
    Id.; NCAA Bylaws, 4.4, NCAA Division I Manual 2020-2021, available at
  https://web3.ncaa.org/lsdbi/reports/getReport/90008 (last visited November 22, 2020).

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                                                   IV.      FACTS

             A.      For nearly 200 years, HBCUs have served as institutions of higher education
                     with the intention of primarily serving the Black community.

                     1. The role of HBCUs in education.

           67.      Historically, education of Blacks in the United States, including enslaved persons,

  was prohibited. 13

           68.      The Civil War ended slavery but did not provide Blacks access to white institutions

  or white educational systems. HBCUs thus developed as a way to educate formerly enslaved

  persons and all Blacks, becoming the primary avenue for providing postsecondary education to

  Black students. 14

           69.      These efforts persisted despite Ku Klux Klan violence towards and intimidation of

  Black educators, schools, and students. In response, Congress passed the Ku Klux Clan Act of

  1871, 15 outlawing conspiracies to deprive citizens of their constitutional rights (including the right

  to equal protection).

           70.      The development of HBCUs was aided by the Second Morrill Act of 1890 which

  required that, when states with racially segregated public higher education systems provided a land

  grant to benefit white students, they also had to provide a land grant for the benefit of Black




  13
     A History of Historically Black Colleges and Universities, HBCU First, https://hbcufirst.com/hbcu-history-
  timeline (last visited November 22, 2020); U.S. Dept. of Educ., Office of Civil Rights, Historically Black Colleges
  and Universities and Higher Education Desegregation, U.S. Dept. of Educ. (March 1991),
  https://www2.ed.gov/about/offices/list/ocr/docs/hq9511.html.
  14
     U.S. Dept. of Educ., Office of Civil Rights, supra, n. 13.
  15
     42 U.S.C. § 1985.

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  students. 16 As a result, additional institutions dedicated to Black students – now referred to as

  HBCUs – received land and were established across the South.

          71.      “Despite the narrow scope of their intended function, HBCUs grew into significant

  institutions in the production of research, particularly on the African diaspora. [HBCUs] became

  the primary teachers of the previously under and uneducated populace, central repositories of

  cultural heritage, and stalwart beacons for community uplift.” 17 HBCUs accepted students “as they

  were,” including educating those who were underprepared or had “minimal skills.” 18

          72.      HBCUs thus comprised the backbone of the educational system for Black students,

  educating future teachers, doctors, lawyers, and ministers who would serve the Black community

  in what was still a racially segregated society. Almost all Black college students during this period

  enrolled at HBCUs. 19

          73.      The Supreme Court’s decision in Plessy v. Ferguson, 163 U.S. 537 (1896),

  reinforced America’s segregated educational system. Although it required that Black and white

  schools be “separate but equal,” they were not.

          74.      Black schools, including HBCUs, had fewer resources, poorer facilities, inadequate

  libraries, and smaller budgets than white institutions, and they received less support from state and

  federal governments. 20




  16
     U.S. Dept. of Educ., Office of Civil Rights, supra, n. 13. See Louis B. “Skip” Perkins, Jr., An Examination of
  Historically Black Colleges and Universities’ (HBCU) Intercollegiate Athletic Directors’ Utilization and
  Effectiveness of Resources to Foster Student-Athlete Academic Success: A Comparative Case Study Analysis (May
  2018) (Ph.D. dissertation, Delaware State University) (available at
  https://desu.dspacedirect.org/bitstream/handle/20.500.12090/283/Perkins_desu_1824E_10084.pdf?isAllowed=y&se
  quence=1).
  17
     M. Christopher Brown II and Ronyelle Bertrand Ricard, The Honorable Past and Uncertain Future of the
  Nation’s HBCUs, THE NEA HIGHER EDUCATION JOURNAL, Fall 2007, at 120.
  18
     Id.
  19
     U.S. Dept. of Educ., Office of Civil Rights, supra, n. 13.
  20
     Id.; Autumn A. Arnett, Funding at HBCUs Continues to be Separate and Unequal, Diverse Issues in Higher
  Education (May 31, 2015), https://diverseeducation.com/article/73463/.

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          75.     Although the Supreme Court overruled Plessy in Brown v. Board of Education, 347

  U.S. 483 (1954), many state and local governments were extremely slow to comply with

  desegregation and the vestiges of discrimination were deeply engrained in society, not the least of

  which was in higher education.

          76.     Today there are 101 HBCUs in 19 states that enroll almost 300,000 students,

  approximately 80% of whom are Black, 70% of whom are from low-income families, and many

  of whom are first-generation students. 21 Although HBCUs represent only 3% of all four-year

  nonprofit colleges and universities, they enroll 10% of all Black students nationally.

          77.     HBCUs have awarded 17% of all bachelor’s degrees earned by Black students and

  nearly a quarter of all bachelor’s degrees earned by Black students in science, technology, and

  engineering since the early 2000s. 22 HBCUs have produced 80% of the Black judges, 50% of the

  Black lawyers, 50% of the Black doctors, 40% of the Black engineers, 40% of the Black members

  of Congress, and 13% of the Black CEOs in America today. 23

          78.     Prominent HBCU graduates include Vice President-Elect Kamala Harris, Jesse

  Jackson, Martin Luther King, Jr., Thurgood Marshall, and Toni Morrison, as well as NFL stars

  such as Jackson State’s Walter Payton, Mississippi Valley State’s Jerry Rice, and Alcorn State’s

  Steve McNair, who finished third in Heisman voting in 1994. Doug Williams, a Grambling

  alumnus, became the first Black quarterback to win a Super Bowl in 1988.


  21
     United Negro College Fund, HBCUs Make American Strong: The Positive Economic Impact of Historically
  Black Colleges and Universities, UNCF, https://cdn.uncf.org/wp-
  content/uploads/HBCU_Consumer_Brochure_FINAL_APPROVED.pdf?_ga=2.73503766.523917533.1603817862-
  147757049.1603817862 (last visited November 22, 2020); Krystal L. Williams and BreAnna L. Davis, “Public and
  Private Investments and Divestments in Historically Black Colleges and Universities,” ACE AND UNCF ISSUE
  BRIEF, January 2019 at 1 (available at https://www.acenet.edu/Documents/Public-and-Private-Investments-and-
  Divestments-in-HBCUs.pdf).
  22
     The UNCF Fact Sheet, https://cdn.uncf.org/wp-content/uploads/2019-UNCF-Fact-
  Sheet.pdf?_ga=2.149633458.523917533.1603817862-147757049.1603817862 (last visited November 22, 2020).
  23
     Jemele Hill, It’s Time for Black Athletes to Leave White Colleges, The Atlantic, October 2019,
  https://www.theatlantic.com/magazine/archive/2019/10/black-athletes-should-leave-white-colleges/596629/

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            79.    HBCUs have been and continue to be committed to “the preservation of Black

  history, racial pride, ethnic traditions, and Black consciousness.” 24 A recent Gallup study

  concluded that HBCUs “are successfully providing black graduates with a better college

  experience than they would get at non-HBCUs.” 25

                    2. The history of HBCUs in NCAA athletics

            80.    The NCAA was established in 1906 by all white leaders at schools in the Ivy

  League as a non-profit, “voluntary” association, which is now comprised of nearly 1,200

  member colleges and universities. Today, it controls the governance and regulation of college

  sports.

            81.    That same year, unwelcome by the NCAA, a group of HBCU leaders created the

  first Black athletic conference: the Inter-Scholastic Athletic Association of the Middle Atlantic

  States (“ISSA”). 26

            82.    In subsequent years, several additional HBCU athletic conferences emerged,

  including the Central Intercollegiate Athletic Association (“CIAA,” 1912), Southern

  Intercollegiate Athletic Conference (“SIAC,” 1913), Southwestern Athletic Conference

  (“SWAC,” 1920), and Mid-Eastern Athletic Conference (“MEAC,” 1970). 27

            83.    Prior to desegregation, many of the country’s best Black student-athletes attended

  HBCUs, which enjoyed national attention for their success on the field or court.




  24
      Brown and Ricard, supra n. 17, at 121.
  25
     2015 Gallup-USA Funds Minority College Graduates Report at 7,
  https://www.gallup.com/services/186359/gallup-usa-funds-minority-college-graduates-report-pdf.aspx (last visited
  November 22, 2020).
  26
     Joseph N. Cooper, J. Kenyatta Cavil, Geremy Cheeks, The State of Intercollegiate Athletics at Historically Black
  Colleges and Universities (HBCUs): Past, Present & Persistence, J. ISSUES IN INTERCOLLEGIATE SPORTS, 2014, No.
  7, at 308 (available at http://csri-
  jiia.org/old/documents/publications/research_articles/2014/JIIA_2014_7_15_307_332_The_Case_of_HBSU.pdf).
  27
     Steven J. Gaither, Despite Great Strides, HBCUs and NCAA-Recognized Athletic Conferences Face Challenges,
  Diverse Issues in Higher Education (Jan. 22, 2013), https://diverseeducation.com/article/50844/.

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          84.      For example, Hall of Fame coach Eddie Robinson started coaching at Grambling

  State University in 1941, when it was called Louisiana Negro Normal and Industrial Institute. 28

  Under his coaching, Grambling won nine Black college football national championships and sent

  200 football players to professional teams.

          85.      Despite the inherent inequalities brought about by segregation, HBCU football

  programs thrived in the middle part of the 20th century. Morgan State won four conference titles

  in seven years from 1943 to 1949, losing only eight games in that span. Southern University won

  three conference titles with a 32-0-2 record from 1948 to 1950. Florida A&M lost just four times

  in 58 games from 1957 to 1962 and produced several AFL and NFL professional athletes.

          86.      From 1905 through the 1970s, major NCAA college basketball and football

  programs were predominantly white; and the southern PWIs were almost exclusively white.29

  During this period when white players predominated collegiate athletics and before all colleges

  and universities fully complied with desegregation and other civil rights laws, the NCAA’s

  academic standards were either non-existent or very low and Black student-athletes were largely

  attending HBCUs.

          87.      However, as Southern PWIs suffered numerous failed attempts to avoid

  desegregation in the 1960s and 1970s, coupled with the increasing success of HBCU athletic

  programs, the economic value of the Black student-athletes’ skills and abilities came into sharper

  focus for the PWIs and they began recruiting Black student-athletes to their institutions.




  28
     Shira Springer, HBCUs and Their Role in Disrupting the College Sports ‘Cartel,’ WBUR, Oct. 13, 2017,
  https://www.wbur.org/onlyagame/2017/10/13/hbcus-grambling-ncaa-cartel.
  29
     See Delgreco K. Wilson, Black Athletes, Race and the Rise of NCAA Eligibility Requirements, The Black Cager
  (Sept. 18, 2014), http://delgrecowilson.com/2014/09/18/black-athletes-race-andthe-rise-of-ncaa-eligibility-
  requirements/.

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         88.     At the same time, high dollar television contracts were transforming college sports

  teams into a lucrative business. Because PWIs were bigger and had more money, they began to

  siphon the best Black talent from attending HBCUs.

         89.     And, despite the success of HBCU athletic teams, mainstream media did not focus

  on HBCUs, but instead on the PWIs.

         90.     PWIs’ newfound focus on and interest in recruiting Black student-athletes was

  based on the commodification of the Black student-athletes’ skills and abilities, rather than

  nurturing each Black student-athlete’s whole self, success, and inclusion—the mission of the

  HBCUs.

         91.     In 1984, the Supreme Court ruled in NCAA v. Board of Regents, 468 U.S. 85 (1984),

  that schools should be free to pursue their own TV deals. With millions of dollars at stake,

  television revenue for football and basketball games became the biggest source of revenue for big-

  time college athletics departments.

         92.     By that time, PWIs dominated the recruitment of the top Black student-athletes and

  thus were able to capitalize on lucrative television deals in the hundreds of millions of dollars, and

  further expanding the economic divide between PWIs and HBCUs.

         93.     Today the conferences referred to as the CIAA, SIAC, SWAC, and MEAC are

  NCAA-recognized conferences that are still comprised completely or predominantly of HBCUs.

  SWAC and MEAC play Division I sports.              Only two HBCUs—Hampton University and

  Tennessee State—play in different conferences (Big South and Ohio Valley, respectively). All

  HBCUs play in the FCS, as opposed to the FBS. None generate the television or sports-related

  revenue of PWIs.




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          94.     In comparison, the Power Five generate significant revenue each year, dwarfing

  that generated by the MEAC and SWAC. The Power Five’s financial largess is due in large part

  to television contracts tied to their participation in the postseason bowl games and the men’s

  basketball tournament.

          95.     As recently as 2010, the NCAA's broadcasting rights for the NCAA men’s

  basketball tournament were worth just under $550 million per year. In 2011, the NCAA reached a

  new 14-year, $10.8 billion deal that was worth just north of $770 million annually for the NCAA

  (with a subsequent extension increasing it to $1.1 billion in 2032). At the same time, the revenue

  the networks were generating from national TV ad sales during NCAA events more than doubled

  from $598 million in 2009 to $1.24 billion in 2016. 30

          96.     The television revenue benefits the PWIs and not the HBCUs. For example, in

  2018, the conferences in the Power Five reported the following revenue from television contracts,

  bowl games, and the men’s basketball tournament:

                                   Big Ten members:         $54 million

                                   SEC members:             $43.7 million

                                   Big 12 members:          $34.7 million

                                   ACC members:             $29.5 million

                                   PAC 12 members:          $29.5 million

          97.     That same year, schools in the MEAC and SWAC generated only approximately

  $1.9 million in revenue from the men’s basketball tournament.

          98.     In 2014, the NCAA permitted exceptions and carve outs to its rules and policies to

  the Power Five, permitting them to change and create their own rules in certain areas, including


  30
     Cork Gaines and Diana Ykari, The NCAA Tournament is an enormous cash cow as revenue keeps skyrocketing,
  Business Insider, March 17, 2017, https://www.businessinsider.com/ncaa-tournament-makes-a-lot-of-money-2017-
  3.

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  financial aid; awards, benefits, and expenses; and academic support. 31 The Power Five is now also

  known as the Autonomy Five. The same rules are not granted to SWAC, MEAC, or the other DI

  conferences or members.

          99.     That same year, the Power Five voted to expand the amount of money they could

  provide to student-athletes in financial support to include incidental expenses such as

  transportation costs and personal expenses. .

          100.    The net result is that PWI’s autonomous structure allows them to continue to

  generate significantly more revenue in sports, which translates to more resources to recruit top

  athletic talent and provide state-of-the art educational resources and academic support than their

  HBCU counterparts; and all the while are subjected to different rules, that they created for

  themselves.

          101.    At the same time, Black student-athletes at HBCUs are placed into an

  overwhelming cycle of NCAA rules and regulations, punishments, and banned postseason play,

  thereby resulting in rapidly decreasing amounts of already-underfunded resources.


           B.      The NCAA’s Academic Performance Program discriminates against
                   HBCUs based on race.

                   1. The NCAA requires student-athletes to comply with regulations
                      governing all aspects of their lives.

          102.    Once a student-athlete has selected which DI school they will attend, they sign a

  National Letter of Intent (“NLI”)—a valid, binding contract. An student-athlete trades their

  athletic contributions for an education: he or she agrees to attend a particular NCAA institution




  31
    Michelle Brutlag Hosick, Board adopts new Division I Structure, NCAA, (August 7, 2014),
  http://www.ncaa.org/about/resources/media-center/news/board-adopts-new-division-i-structure. See also NCAA
  Bylaws, supra, n. 12, at 5.3.2.1.2.

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  full-time as a student-athlete, receiving in return athletics financial aid for a particular number of

  years and the ability to participate and compete in NCAA athletics.

          103.    The NCAA controls the entirety of the NLI program: it hosts the NLI website,

  prepares the standardized NLI form; dictates when the NLI may be signed and who may be present

  when it is; determines when the NLI may be released, declared invalid, or voided; establishes an

  appeal process for NLI releases; requires all members of the NLI program to offer athletics

  scholarships (which are funded in part or whole by the NCAA and must be consistent with NCAA

  rules); and prohibits other institutions from recruiting that student-athlete once the NLI is signed.

  Following execution, the NLI must be filed with the relevant DI Conference. 32

          104.    Once a student-athlete signs the NLI, they are bound by NCAA bylaws and

  regulations, which dictate NCAA student-athlete behavior. 33

          105.    For example, student-athletes must meet eligibility requirements established by the

  NCAA, their institution, and the applicable athletic conference (DI Bylaws 3.1.2.4, 12.7); act with

  honesty and sportsmanship (DI Bylaw 10.01); act ethically (examples of which are provided in DI

  Bylaw 10.1); comply with drug provisions (DI Bylaw 10.2); not violate the principle of

  amateurism (DI Bylaw 12.1); comply with recruiting requirements (DI Bylaw 13.01); not receive

  any “extra benefit” (as defined by the NCAA) for their athletic contributions (DI Bylaw 16.01);

  and comply with disciplinary action for failures to comply (DI Bylaw 10.4). 34

          106.    The NCAA dictates how and when student-athletes may use a recruiting agency or

  professional sports agent, prohibits a student-athlete from receiving compensation from a


  32
     See, e.g., National Letter of Intent, http://www.nationalletter.org; Quick Reference Guide to the NLI,
  http://www.nationalletter.org/documentLibrary/nli-guide.pdf (last visited November 22, 2020).
  33
      See NCAA Division I Bylaws, supra, n. 12.
  34
      Citations are to NCAA Division I Bylaws, supra, n. 12. See also NCAA, Summary of NCAA Regulations—
  Division I, Academic Year 2020-2021,
  http://fs.ncaa.org/Docs/AMA/compliance_forms/DI/DI%20Summary%20of%20NCAA%20Regulations.pdf (last
  visited December 2, 2020).

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  professional team or promoting a commercial product, and specifies when and how much prize

  money a student-athlete may receive from a sports competition. 35

          107.     The NCAA has also promulgated academic requirements that dictate when and how

  a team and its student-athletes may participate in NCAA athletics and postseason play and when

  and how they may not. Student-athletes are bound by these academic requirements pursuant to the

  NLI and relevant NCAA bylaws.

                    2. The NCAA’s serial academic requirements have historically
                       discriminated against Black student-athletes at HBCUs.

          108.     Pursuant to its Principle of Amateurism, the NCAA maintains that student-athletes

  are amateurs, not professionals, and claims that participation “should be motivated primarily by

  education and by the physical, mental and social benefits to be derived.” 36

          109.     Until 1965—the time of desegregation—the NCAA imposed little to no academic

  requirements on student-athletes at all. Instead, academic eligibility was left to the conferences

  and member institutions.

          110.     In 1965—during a tumultuous time in our country’s civil rights battle for equal

  housing, voting, public accommodations, and education—the NCAA established an academic

  requirement for the first time. The requirement was known as the “1.6” rule, which determined a

  student-athlete’s initial eligibility (i.e. freshman eligibility) by using a combination of GPA and

  SAT scores to predict the first year GPA, which was required to meet or exceed 1.6. 37




  35
     Amateurism, NCAA, http://www.ncaa.org/student-athletes/future/amateurism (last visited November 22, 2020).
  36
     NCAA Division I Bylaws, supra, n. 12, at 2.9, The Principle of Amateurism.
  37
     See Michael J. Mondello, An Historical Overview of Student-Athlete Academic Eligibility and the Future
  Implications of Cureton v. NCAA, 7 JEFFREY S. MOORAD SPORTS L.J. 127, 130 (2000) (available at
  https://digitalcommons.law.villanova.edu/cgi/viewcontent.cgi?article=1189&context=mslj).

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           111.     In 1973, the NCAA abandoned the “1.6 rule” and required that student-athletes

  have a 2.0 high school GPA to be first-year eligible. 38 But Division I student-athletes exhibited

  poor academic performance and there were several high-profile admissions and academic fraud

  scandals. A study performed in the early 1980s indicated that over one-third of the DI basketball

  programs had graduation rates below 20%, and similar numbers were exhibited in the football

  programs. 39

           112.     There was also significant criticism that Black student-athletes were being

  exploited for their athletic abilities, but seriously underserved in the classroom. 40

           113.     In 1983, the NCAA once again changed course and enacted an initial eligibility rule

  known as Proposition 48. 41 Reportedly, this change was an attempt to “bolster sagging student-

  athlete academic performance.” 42

           114.     Proposition 48 required that incoming student-athletes have a high school GPA of

  2.0 in eleven core (required) courses and an SAT score of 700+ (or 15+ on the ACT). 43 The rule

  allowed “partial qualifier” status for students who met the 2.0 GPA minimum but failed to satisfy

  the standardized test score: they could receive their athletic scholarship for one year but would be

  athletically ineligible and therefore lose one year of athletic participation.

           115.     The NCAA explained its intent as twofold: to increase graduation rates of men’s

  football and basketball players, and to ensure schools were not counseling players into courses



  38
     See Douglas Lederman, College Athletes Graduate at Higher Rate Than Other Students, But Men’s Basketball
  Players Lag Far Behind, a Survey Finds, CHRON. OF HIGHER EDUC., Mar. 27, 1991, at A1.
  39
     See Mondello, supra, n. 37 (citing Lederman, supra, n. 38).
  40
     Mondello, supra, n. 37, at 129; See also Ross v. Creighton University, 957 F.2d 410 (7th Cir. 1992) (former
  basketball player sues university for failure to educate him, noting he had overall language skills of a fourth grader
  and seventh grade reading skills when he completed his athletic eligibility).
  41
     Gary Brown, NCAA Graduation Rates: A Quarter-Century of Tracking Academic Success, NCAA, Oct. 24, 2014,
  http://www.ncaa.org/about/resources/research/ncaa-graduation-rates-quarter-century-tracking-academic-success.
  42
     Id.
  43
     Brown, supra, n. 41.

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  “primarily designed to safeguard their eligibility with little or no concern for their progress toward

  graduation.” 44

          116.      At the time, there was significant data and numerous vocal objections indicating

  that Proposition 48 would have a disparate impact on Black student-athletes. 45 Although the rule

  theoretically pressured high schools to better prepare student-athletes for the rigors of the college

  classrooms, critics asserted that the use of standardized test scores meant the rule was inherently

  biased, and one HBCU president called it “patently racist.” 46

          117.      Even the president of the College Board, which created and administers the SAT,

  stated that the use of SAT scores in Proposition 48 rendered the rule “patently discriminatory and

  racist in its effects. Its use is a disservice to minority athletes.” 47

          118.      Notwithstanding the data and allegations of systemic discrimination, Proposition

  48 became effective in 1986. 48

          119.      The NCAA’s own subsequent study confirmed that Proposition 48 had a

  disproportionate impact on Black student-athletes. 49 The study showed that, in 1988, over 80% of

  ineligible student-athletes were Black. 50




  44
      Mondello, supra, n. 37, at 131. (citing Letter from Robert H. Atwell, Vice President of ACE on behalf of the
  President’s Committee on Collegiate Athletics, to Chief Executive Officers of ACE Member Institutions 4 (Dec. 22,
  1982)).
  45
     See Mondello, supra, n. 37.
  46
     Id. at 133.
  47
     Id. at 134 (citing Harold J. Vanderzwaag, Athletics: Academic Standards for Freshman eligibility, POL’Y DEV. IN
  SPORT MGMT., 1998, at 49).
  48
     Brown, supra, n. 41.
  49
     Todd A. Petr and John J. McArdle, Academic Research and Reform: A History of the Empirical Basis for NCAA
  Academic Policy. J. OF INTERCOLLEGIATE SPORT, 2012, No. 5, 27-40 (available at
  https://www.ncaa.org/sites/default/files/2018RES_05_petr_JIS_0011_27-40_20180522.pdf).
  50
     Associated Press, Blacks Hit Hard by Proposition 48, Survey Shows. The New York Times Sept. 9, 1988, A25
  (available at https://www.nytimes.com/1988/09/09/sports/blacks-hit-hard-by-proposition-48-survey-shows.html).

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          120.      The data suggested that “a disproportionate number of Black student-athletes were

  kept on a non-graduation track, so by the time their eligibility expired, they seemed so far from

  graduating that they may have chosen to drop out because of lack of hope.” 51

          121.     In 1990, the NCAA introduced yet another reform called Proposition 42 that

  removed any type of financial aid for student-athletes who did not meet the academic standards of

  Proposition 48. Proposition 42 was written and sponsored by the Southeastern Conference

  (“SEC”)—the last major conference to desegregate and allow Black participation. 52

          122.     In 1992 the NCAA again adopted an “academic reform package” designated as

  Proposition 16, which added two additional core courses and established benchmarks as a

  minimum 2.5 GPA (in 13 core courses) and a minimum SAT score of 820, with certain

  exceptions. 53

          123.     But only half of Black college-bound high school seniors in 1992 met Proposition

  16 requirements, compared to more than two-thirds of white students—an even greater disparity

  than experienced under Proposition 48. 54

          124.     In 1995, 2003, and 2012, the NCAA imposed additional and increasingly stricter

  reforms to the number of required core courses and sliding scales. For example, for each ten-point

  drop in SAT scores, the student-athlete had to have a corresponding .025 increase in GPA. 55




  51
     Douglas Lederman, NCAA Study Compares Records of Black, White Athletes, CHRON. OF HIGHER EDUC., July 10,
  1991, at A30 (available at https://www.chronicle.com/article/ncaa-study-compares-records-of-black-white-
  athletes/?cid2=gen_login_refresh&cid=gen_sign_in).
  52
     See Wilson, supra, n. 29.
  53
     Mondello, supra, n. 37, at 135-136.
  54
     Id. at 137-138 (citing Nat’l Ctr. For Educ. Stat., Who can Play? An Examination of NCAA’s Proposition 16,
  CHRON. OF HIGHER EDUC., July 7, 1995).
  55
     Wilson, supra, n. 29.

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           125.     In 1997, more than 19% of Black student-athletes seeking DI initial eligibility were

  ineligible under Proposition 16, as compared to only 3.1% of white student-athletes. 56

           126.     In a 1998 memorandum, the NCAA conceded that

                    the setting of any initial-eligibility standard leads to an essential
                    tension between two conflicting goals: (1) raising of graduation
                    rates, and (2) allowing more individuals access to the finite number
                    of athletics opportunities available. …This tension is heightened by
                    the fact that a disproportionate number of ethnic minorities are
                    affected adversely by the imposition of these rules.” 57

           127.     The NCAA further admitted: “African-American and low-income student-athletes

  have been disproportionately impacted by Proposition 16 standards.” 58

           128.     Notwithstanding this clear knowledge and admission that Black student-athletes

  would be negatively affected, it made no changes to either Proposition 16 or its subsequent,

  increasingly-strict reforms.

                     3. The NCAA discriminated against Black Student-Athletes at HBCUs
                        when it considered race in the design and implementation of the APP.

           129.     The writing on the wall, the NCAA once again returned to the academic reform

  table and created the APP. The proverbial goal posts were moved yet again.

           130.     The 2004 APP marked the first time that the NCAA subjected teams to sanctions

  for academic eligibility: previously, its academic requirements penalized and applied only to

  individual student-athletes.

           131.     The APP’s penalty structure includes a progressive, three-level penalty scheme and

  a separate postseason access penalty. A level one penalty restricts a team’s practice time, level



  56
     NCAA, Memorandum from NCAA Division I Academics/Eligibility/Compliance/Cabinet Subcommittee on
  Initial-Eligibility Issues to Chief Executive Officers, Faculty Athletics Representatives, Directors of Athletics,
  Senior Woman Administrators, and Compliance Coordinators of NCAA Division I Institutions, July 27, 1998
  (including attachments).
  57
     Id. at Initial-Eligibility Standards attachment, page 3.
  58
     Id. at Initial-Eligibility Model I attachment, page 2.

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  two results in a reduction of the season or contests, and level three provides a menu of potential

  penalties that may be imposed, including financial aid penalties and multiyear postseason

  competition bans. 59

         132.    The APP penalty structure also restricts postseason access, which encompasses all

  postseason events conducted after the last regular-season contest or end-of-conference tournament,

  including NCAA championships, football bowl games, and the men’s and women’s basketball

  tournaments.

         133.    The APP is complex, as evidenced by its 246-page manual. Its stated purpose is:

                 to ensure that the membership is dedicated to providing student-
                 athletes with an exemplary educational and intercollegiate athletics
                 experience in an environment that recognizes and supports the
                 primacy of the academic mission of its member institutions, while
                 enhancing the ability of student-athletes to earn a degree.

                 The membership is committed to providing higher education for a
                 diverse body of student-athletes within the context of an institution's
                 academic and admissions standards for all student-athletes through
                 a system that rewards those institutions and teams that demonstrate
                 commitment toward the academic progress, retention and
                 graduation of student-athletes and penalizes those that do not. 60

         134.    The key components of the APP are two metrics: the Academic Progress Rate

  (“APR”) and the Graduation Success Rate (“GSR”). The GSR is the NCAA’s calculation of

  student graduation rates, including transfer students. The APR is a team-based measurement of

  eligibility, retention, and graduation.

         135.    Each student-athlete on a team who receives athletically related financial aid earns

  one point for continuing enrollment as a full-time student and one point for remaining




  59
     NCAA, NCAA DIVISION I ACADEMIC PERFORMANCE PROGRAM MANUAL, Eff. June 1, 2014, at 97-98, 137
  (available at https://www.ncaa.org/sites/default/files/2014-15%20APP%20Manual%20with%20Appendices%2011-
  17-14.pdf).
  60
     Id. at 1. See also NCAA Division I Bylaws, supra, n. 12, 14.8.

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  academically eligible pursuant to NCAA guidelines. The team’s total points are divided by points

  possible and multiplied by 1000, resulting in the APR.

          136.    As explained by the NCAA’s Principal Research Scientist, the Graduation Success

  Rate is supposed to be a “long term” assessment of student-athlete academic success, while the

  Academic Progress Rate is a “real-time” assessment of team academic progress. The NCAA also

  represents that a 930 APR is a “proxy” for eventual graduation success, representing a projected

  50% GSR. 61

          137.    The NCAA says that, with the APP, it sought to “create a system that will produce

  improved graduation performance, particularly in specific high-profile sports [football and men’s

  basketball] without having a disparate impact on ethnic minorities.” 62

          138.    While announcing the APP’s creation in 2004, NCAA President Brand explicitly

  stated that the program was designed to respond to the allegations of discrimination against Black

  student-athletes.

          139.    The APP has yielded the very results the NCAA stated it intended to correct and

  avoid. The formula on which the APP was based included metrics that the NCAA knew would

  directly and negatively affect Black student-athletes. The NCAA had clear knowledge, purpose,

  and intent to address the racial disparities through the newly reformed APP, fully recognized that

  the APP continued to perpetuate the disparities, and implemented it anyway.

          140.    For example, in the 1998-1999 school year, the GSR for Black student-athletes was

  59%, as compared to 82% for white student-athletes. 63


  61
     See Thomas Paskus, A Summary and Commentary on the Quantitative Results of Current NCAA Academic
  Reforms, J. OF INTERCOLLEGIATE SPORT, 2012, No. 5, 41-53 (available at
  https://www.ncaa.org/sites/default/files/2018RES_05_petr_JIS_0011_27-40_20180522.pdf).
  62
     Walter Harrison, NCAA Academic Performance Program (APP): Future Directions, J. OF INTERCOLLEGIATE
  SPORT, 2012, No. 5, at 66.
  63
     NCAA, Division I Freshman-Cohort Graduation Rates 1998-1999, NCAA,
  http://web1.ncaa.org/app_data/instAggr2005/1_0.pdf (last visited December 2, 2020).

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            141.   The NCAA knew that GSRs for Black student-athletes were 20-30 percentage

  points lower than for white student-athletes. 64

            142.   Nonetheless, the NCAA deliberately chose to rely upon the GSR in determining

  APR and administering the APP, even though there was little to no correlation between GSR and

  the measurement of a particular student’s academic success.

            143.   The NCAA had access to multiple years of data before and after the enactment of

  the APP that confirmed the GSRs disparate impact on Black student-athletes.

            144.   For example, the following NCAA-created chart depicts year-by-year GSR rates

  for white and Black student-athletes in NCAA men’s basketball, both pre- and post-dating the

  APP: 65




            145.   In another example, the following NCAA-created chart depicts year-by-year GSR

  rates for white and Black players in NCAA football: 66


  64
     Id.
  65
     NCAA Research, Trends in Graduation-Success Rates and Federal Graduation Rates at NCAA Division I
  Institutions, October 16, 2013, http://web1.ncaa.org/app_data/GSR/qaahad13/GSR_Fed_Trends_2013_Final.pdf.
  66
     Id.

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          146.     To establish the APR, the NCAA decided to collect two years of academic data

  before determining the “cut” APR at which teams would be rewarded or penalized. 67

          147.    It contemporaneously established the Division I Committee on Academic

  Performance, which it tasked with overseeing the APR. 68

          148.    In 2005, the cut APR was initially and arbitrarily set at 925; it was again arbitrarily

  reduced to 900 a year later in 2006. 69

          149.    The NCAA implemented a new penalty structure for the APP program in 2011. The

  APR cut score—required for teams to participate in any NCAA-sponsored championship game,

  football bowl game, or the basketball tournament—was increased from 900 to 930. For access to

  postseason competition in 2012-13 and 2013-14, teams were required to achieve a 900 multiyear

  APR or a 930 average over the most recent two years to be eligible. A new penalty structure was



  67
     NCAA, Academic Progress Rate Timeline, NCAA, http://www.ncaa.org/about/resources/research/academic-
  progress-rate-timeline (last visited November 22, 2020).
  68
     Id.
  69
     Id.

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  also approved for implementation in 2014-15 that would require teams to earn at least a 930 four-

  year, rolling APR in order to participate in postseason competition.

          150.    Walter Harrison, the Chair of the NCAA’s Committee on Academic Performance,

  admitted that at the time the 2011 APP changes were implemented, the NCAA knew (and

  possessed data confirming) that the revised program would more heavily impact low-resource

  institution (“LRIs”) and HBCUs, than PWIs. 70 Nonetheless, the Board approved the program as

  proposed, creating the current penalty structure.

          151.    Importantly, because the NCAA knew that its new penalties would have a direct

  impact on Black student-athletes at HBCUs, the NCAA Committee on Academic Performance

  recommended the Board establish an HBCU Academic Advisory group to “assist on issues that

  impact HBCU institutions” and serve in an advisory capacity to the Committee. 71 It stated:

                  An in-depth examination of APR trends indicates that a higher
                  proportion of HBCU teams have been subject to APP penalties. The
                  NCAA staff has begun several initiatives to assist HBCU
                  institutions and to provide additional services to meet the NCAA
                  and the institution’s objectives. The formation of this advisory
                  group would represent a collaborative and proactive effort between
                  HBCU institutions and the NCAA to serve as a conduit to
                  communicate issues and concerns that may impact HBCUs
                  collectively within the Academic Performance Program. HBCU
                  institutions have played an important role in helping shape the
                  traditions and public impression of the NCAA. Therefore, it is of
                  utmost importance to find ways to assist HBCUs as members of
                  Division I. 72

          152.    The Board established the Historically Black Colleges and Universities and Low

  Resource Institution Academic Advisory Group (“HBCU-LRI Academic Advisory Group”). But

  the HBCU-LRI Academic Advisory Group was simply window-dressing. It was marginalized


  70
     Harrison, supra, n. 62, at 71.
  71
     NCAA Division I Committee on Academic Performance, Report of the NCAA Division I Committee on
  Academic Performance October 24-25, 2011, Meeting.
  72
     Id. at 11. (emphasis added).

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  almost immediately and its recommendations--including that more funding be provided to HBCUs

  to support academic resource centers and that HBCUs and LRIs be provided a three year transition

  period to comply with and be subject to the APP were largely rejected. 73

          153.     In a 2012 article, Thomas Perkus, the NCAA’s Principal Research Scientist, wrote

  that:

                   [a] salient concern for CAP [Committee on Academic Progress] is
                   APR trending at Historically Black Colleges and Universities
                   (HBCUs), some of which have not shown improvement and in some
                   cases have actually regressed in their APRs. Various factors have
                   been cited and discussed by CAP including resource, support
                   services, admissions profiles, mission, contest scheduling, high rates
                   of administrative turnover, and early exemption from APR
                   penalties. 74

          154.     He further observed: “[a]cademic difficulties are multidimensional and cluster

  within certain sports or schools in a way that probably should lead to further discussion of tailored

  approaches to PTD [progress-toward degree].” 75

          155.     But rather than proposing a real solution—i.e., developing a non-discriminatory

  program—Perkus instead suggested that schools consider “capping” the number of “high-risk

  student-athletes admitted at any given time.” 76            However, this proposed approach wholly

  contradicts the HBCU mission of providing education to low-income, first generation, and

  historically-disadvantaged Black students.




  73
     Kevin Trahan, The NCAA’s Academic Progress Rate Punishes HBCUs More Than it Promotes Education, Vice,
  April 29, 2016, https://www.vice.com/en/article/qky8qw/ncaa-apr-punishes-hbcus-more-than-it-promotes-education;
  TSU President Dr. John Rudley Leading NCAA Committee, Diverse Issues in Higher Education, February 28, 2013,
  https://diverseeducation.com/article/51633/; see also Allie Grasgreen, Uphill Battle for HBCU Athletes, Inside
  Higher Ed, June 17, 2013, https://www.insidehighered.com/news/2013/06/17/hbcus-get-some-help-still-struggle-
  meet-ncaa-academic-standards.
  74
     Paskus, supra, n. 61 at 43.
  75
     Id. at 45.
  76
     Id. at 52.

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          156.     In 2013, Dr. John Rudley, then-president of HBCU Texas Southern University,

  former chairman of the SWAC Council of Presidents and Chancellors, and then-leader of the

  HBCU-LRI Academic Advisory Group, observed that:

                   [within the NCAA,] the voices of the larger schools, the Bowl
                   Championship Series Schools, the wealthier schools, seem to carry
                   more weight than those of us designated as HBCUs… Our
                   challenge, as we see it, is to express to the NCAA that one size does
                   not fit all. We contend that the NCAA APR standard conflicts with
                   the mission of our universities. We emphatically state that we are
                   fulfilling our mission.77

          157.     That same year, more than 80% of the teams that received postseason bans were

  from HBCUs. Walter Harrison admitted that the NCAA’s financial support for HBCUs was

  “certainly… not adequate.” 78

          158.     A 2013 study in the Journal of Intercollegiate Sport compared APR trends among

  LRIs, HBCUs, and other institutions.79 It revealed that HBCUs continued to trend well below

  PWIs in terms of APR, eligibility, retention, the number of student-athletes who left school

  academically ineligible, and the percentage of teams with a less than 930 APR.

          159.     For example, in 2010-2011, 33% of HBCU teams had APRs less than 930,

  compared to 7% of non-low-resource DI PWIs.

          160.     A 2015 Washington Post article, published after the NCAA revealed that 15 of 21

  teams receiving postseason bans that year were from HBCUs, asked: “Does the NCAA unfairly

  punish sports programs at historically black schools?” 80




  77
     Grasgreen, supra, n. 73 (emphasis added).
  78
     Id.
  79
     Melvin Norman Thomas. Financial and Related Issues at HBCUs. J. OF INTERCOLLEGIATE SPORT, 2013, No. 6,
  65-75 (available at https://core.ac.uk/download/pdf/200288469.pdf).
  80
     Isabelle Khurshudyan, Does NCAA unfairly punish sports programs at historically black schools? WASH. POST,
  July 7, 2015, https://www.washingtonpost.com/sports/colleges/hbcus-struggle-with-apr-standards-but-some-say-
  ncaa-measure-fails-them/2015/07/07/30d88b62-20de-11e5-bf41-c23f5d3face1_story.html

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          161.     In addressing the obvious and significant APR gap between HBCUs and other DI

  schools, the article noted that “[m]any HBCUs face the challenge of serving their core mission of

  educating poor and academically underserved communities with less funding than more powerful

  programs to provide academic oversight geared at keeping athletes eligible.” And it quoted

  Roderick McDavis, then-current chair of the NCAA Committee on Academics, as saying (of the

  HBCU APR gap): “I won’t say it’s giving me nightmares. I’m very concerned about it.” 81

          162.     In fact, critics have doubted whether the APR really has anything to do with the

  quality of education, instead likening it to a “game” more easily manipulated by high-resource DI

  schools than by HBCUs. 82

          163.     There is substantial doubt that the NCAA’s repeated academic reform efforts have

  anything to do with an accurate measure of the quality of a student-athlete’s education. For

  example, a recent published study, “Degree Attainment for Black Students at HBCUs and PWIs:

  A Propensity Score Matching Approach,” measured how attending an HBCU impacts chances to

  persist and graduate when compared to PWIs. The study determined that HBCUs significantly

  outperform PWIs. 83       Specifically, the study concluded that the average treatment effect of

  attending an HBCU to be within 6.0% to 16.1%, “indicating significantly higher chances of

  success for Black students at these institutions.” 84

          164.     As the co-author of the study and senior director at the Education Trust stated,

  Black colleges are “very different” than most predominantly white institutions. “When you

  actually compare HBCUs to similar PWIs that enroll comparable percentages of low-income


  81
     Id.
  82
     Id.
  83
      Julian Wyllie, How Are Black Colleges Doing? Better Than You Think, Study Finds, The Chronicle of Higher
  Education, April 13, 2018, https://www.chronicle.com/article/how-are-black-colleges-doing-better-than-you-think-
  study-finds/
  84
     Id.

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  students, our research suggests that HBCUs tend to have higher completion rates for black

  students.” 85

          165.    Critiques of the APP program and its effect on Black student-athletes at HBCUs

  are published every spring when new APP penalties are announced that again disproportionately

  affect HBCUs.

          166.    A 2016 Vice article asserted that the APR measures athletic eligibility, not actual

  learning, and therefore punishes Black student-athletes at HBCUs, which do not have the resources

  to capitalize on the APR’s weaknesses. 86 It aptly noted: “[t]he NCAA can plainly see that the APR

  disproportionately hurts HBCUs and their athletes, and yet it keeps it regardless.” 87

          167.    A 2017 article in The Undefeated characterized that year’s postseason bans, again

  primarily affecting Black student-athletes at HBCUs, as “polite racism.” 88 And in 2020, it declared

  that the “NCAA must stop perpetuating academic and financial disparities for HBCUs.”

          168.    Although the NCAA claims to have made numerous “reforms” to its academic

  measurements throughout several decades, it is an intentional decision to consistently

  acknowledge reliable data that its “reforms” hobble and undermine the path of the Black student-

  athlete at HBCUs but nonetheless allow the discrimination to continue.

          169.    The APP—the NCAA’s latest flavor of the month—persists in disregarding these

  issues. And while the NCAA continues to penalize Black student-athletes at HBCUs for low APRs

  and GSRs, it both acknowledges and ignores egregious disparities between the graduation rates of

  Black and white student-athletes in NCAA teams with “passing” APRs at PWIs.



  85
     Id.
  86
     Trahan, supra, n. 73.
  87
     Id.
  88
     Derrick Z. Jackson, HBCUs Unfairly Penalized by NCAA Academic and Graduation Standards, The Undefeated,
  Sept. 13, 2016, https://theundefeated.com/features/hbcus-unfairly-penalized-by-ncaa-academic-and-graduation-
  standards/

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             170.   For example, a 2016 article reported that, in the FCS and among FBS power schools

  like Iowa, Michigan State, North Carolina, Texas, California, and Southern California, GSRs for

  Black student-athletes range from 43-48% while GSRs for white student-athletes are between 73-

  94%. 89

             171.   The disparity is even worse in men’s basketball, where Illinois, Michigan State,

  Oklahoma State, Texas Christian, Washington State, LSU, Mississippi State, Texas A&M, Central

  Florida, Texas-San Antonio, Ohio, Fresno State, Hawaii, and Wyoming have a 100% GSR for

  white players but a GSR less than 50% for Black student-athletes. 90 But because these teams post

  overall GSR rates within NCAA parameters via the APR scores, they are not penalized.

             172.   Thus, the Black student-athlete’s individual academic success is truly irrelevant to

  the NCAA, as long as there are sufficient numbers to dilute and mask the Black student-athlete’s

  academic struggles at a PWI. Indeed, this dilution of Black student-athletes is commonplace at

  PWIs.

                    4. HBCU teams are 43 times more likely to receive a postseason ban than a
                       PWI team.

             173.   APP penalties, including postseason bans, have been disproportionately levied

  against HBCUs for more than a decade.

             174.   Only 6.5% of DI schools are HBCUs (23 out of 350). But 72% of the 159 teams

  that have been banned from postseason competition since 2010 are from HBCUs (114 of 159).

             175.   Moreover, 62% of the teams banned from postseason competition come from the

  SWAC and MEAC, the two historically Black conferences.




  89
       Id.
  90
       Id.

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           176.    An HBCU team is 43 times more likely to receive a postseason ban than a PWI

  team.

           177.    Only one Power Five team has ever received a postseason access penalty.

           178.    The following chart depicts the number of HBCU teams banned from postseason

  play under the APP since 2010 91:

                      Number of HBCU             Total Number of          Percentage of Banned Teams
                      Teams Receiving            Teams Receiving            that Were from HBCUs
         Year
                       Postseason Bans           Postseason Bans
       2010-2011                5                           14                           36%
       2011-2012                10                          13                           77%
       2012-2013                23                          42                           55%
       2013-2014                17                          21                           81%
       2014-2015                21                          22                           95%
       2015-2016                14                          16                           88%
       2016-2017                7                           8                            88%
       2017-2018                6                           8                            75%
       2018-2019                11                          15                           73%
       2019-2020                6                           8                            75%
       2020-2021                11                          15                           73%


           179.    While the NCAA frequently lumps HBCUs with low-resource institutions and

  directs its aid to LRIs, research has demonstrated that lower resources alone cannot account for

  the disparity in HBCU APRs and GSRs.

           180.    A 2018 study evaluated which factor, race or low resources, leads to greater APP

  penalties. 92


  91
    Source: https://web3.ncaa.org/aprsearch/aprsearch (last visited December 2, 2020).
  92
    Ryan J.R. Westman, Investigating Equity: An Evaluation of the Relationship of the NCAA’s APR Metric on
  Similarly Resourced Historically Black and Predominately White NCAA Division-I Colleges and Universities
  (August 23, 2018) Seton Hall University Dissertations and Theses,
  https://scholarship.shu.edu/cgi/viewcontent.cgi?article=3664&context=dissertations.

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          181.     The study compared HBCUs to similarly resourced non-HBCUs (thus controlling

  for resources), analyzed NCAA and Knight Commission academics and athletics data, and

  employed a regression analysis. Ultimately the study concluded that race—the mere fact that an

  institution is an HBCU—is a predictor of APP penalties. Resources are not.

          182.     According to the study, HBCUs are 6-8 times more likely to be penalized than

  similarly-resourced, non-HBCU institutions. 93

          183.     In discussing the study post-completion, the author was blunt: “It’s a sin that the

  penalties are so skewed when HBCUs’ mission is grounded in access to low-income and first-

  generation students… It screams inequity when HBCUs were once so woven into the fabric of

  American sports… It’s like the system is turning its back on HBCUs when these schools need

  support.” 94

                    5. The NCAA uses the APP to reward PWIs.

          184.     The NCAA now rewards schools who consistently achieve high APRs. The Public

  Recognition Program awards the top-performing teams in each sport (top 10%) based on their most

  recent multiyear APR. 95

          185.     Enacted in 2016 and beginning this year, the NCAA now provides financial awards

  to schools that achieve an APR of 985 or higher in the previous year (averaged across all teams),

  a GSR of 90% or more the previous year (averaged across all teams), or a graduation rate that is

  13 or more points greater than the Federal Graduation Rate. 96




  93
     Id.
  94
     Derrick Z. Jackson, NCAA must stop perpetuating academic and financial disparities for HBCUs, The
  Undefeated, May 27, 2020, https://theundefeated.com/features/ncaa-must-stop-perpetuating-academic-and-financial-
  disparities-for-hbcus/
  95
     NCAA DIVISION I ACADEMIC PERFORMANCE PROGRAM MANUAL, supra, n. 59, at 146.
  96
     NCAA, Academic Based Revenue Distribution, NCAA, http://www.ncaa.org/academic-based-revenue-
  distribution (last visited November 22, 2020).

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         186.    Projected distributions begin at $111,000 (2020-2021, reduced for COVID-19), and

  will reach $473,000 in 2025-2026. This money will be distributed without restrictions and will

  increase annually.

         187.    The NCAA projects that 66% of member schools will qualify each year.

         188.    Yet, for academic year 2018-2019, no MEAC or SWAC school has a GSR above

  90%.

          C.      Plaintiffs and the Class have been injured by or are at risk of injury because
                  of the APP.

                  1. The NCAA’s conduct interferes with student-athletes’ ability to make
                     and enforce contracts—their NLIs.

         189.    Postseason bans exclude student-athletes from all postseason events conducted

  after the last regular-season contest or end-of-conference tournament, including NCAA

  championships, football bowl games, and the men’s and women’s basketball tournaments.

         190.    These competitions are highly televised and provide student-athletes with publicity

  and exposure amongst their peers, scouts, corporate sponsors, and the public.

         191.    The NCAA’s postseason bans deny players the opportunity to further compete with

  their peers; further develop their athletic careers; receive greater media coverage and acclaim;

  improve and achieve meaningful play-based metrics, which affects subsequent career trajectory;

  and capture the attention of and access to recruiters and sponsors, including the lucrative post-

  college benefits they offer. Further, players’ confidence in their HBCUs, their teams, and

  themselves is affected.

         192.    The full opportunity to compete also impacts student-athletes’ opportunities for

  careers in coaching and the business of collegiate and professional sports.

         193.    Mr. Manassa, for example, was unable to play in the conference championship his

  senior year in 2016-17. He was one of the leading scorers in the conference. The conference

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  championship is the ultimate prize for any collegiate athlete because it highlights the stars of the

  league and provides exposure that is unavailable during the regular season.

          194.   Mr. Manassa’s hopes for significant career milestones, such as scoring 1,000 points

  over his college career, were thwarted because of NCAA’s postseason ban. Such accolades and

  achievements would inevitably have assisted his post-college basketball career.

          195.   Mr. Manassa did not know (and could not have known) at the time of his

  commitment to SSU that the team would be banned from postseason play.

          196.   Similarly, Mr. Dasent transferred to SSU for his junior year to play basketball. He

  was unaware (and could not have known) that his team would be banned from postseason play that

  year.

          197.   The following season, 2017-18, SSU finished the regular season in first place and

  was league champion.

          198.   Ms. Freeman specifically chose an HBCU over full scholarship offers from PWIs

  because of the benefits and advantages of attending an HBCU, where she would not be the minority

  and still participate on a Division I athletic team.

          199.   Ms. Freeman and the other Plaintiffs were not provided full information about the

  potential consequences of the NCAA’s discrimination against Black student-athletes at HBCUs.

  As a result, unbeknownst to them, they entered their NLI contracts with substantial disadvantages

  and effects.

          200.   In this manner, the NCAA’s postseason bans interfere with student-athletes’ NLI

  contracts. Players are prevented from receiving the full benefits and privileges of their contracts,

  including participation in the competitions for which their team’s ranking qualifies them. Schools




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  cannot access the greater publicity, media coverage, and revenue attendant to highly-publicized

  events, such as championship tournaments.

          201.    Student-athletes are less visible to recruiters, reducing their opportunities for

  professional play. Similarly, career opportunities as a coach, trainer, or other sports-related career

  pathways are hindered and limited without the full and complete opportunities that postseason play

  at the Division I level offer.

          202.    And these losses ultimately affect institution prestige and recruitment, reducing the

  pool of potential future team members and staffing, encouraging student-athletes to transfer to

  non-banned teams, affecting the school’s public standing, disincentivizing student-athletes from

  attending HBCUs, thereby foregoing the numerous tangible and intangible advantages that

  HBCUs offer Black students but that PWIs cannot; and thus further limiting the team’s future

  success and opportunities for revenue-generation.

                   2. The NCAA’s conduct creates an increased risk that Black student-
                      athletes at Division I HBCUs will suffer irreparable harm.

          203.    Ms. J’TA Freeman passed up other scholarships to play lacrosse for Howard

  University. She chose Howard, in large part, because it is an HBCU and would provide her with

  an inclusive and supportive environment that PWIs could not provide. However, Ms. Freeman is

  at an increased risk of being subjected to a postseason ban because of her choice to attend and play

  for an HBCU.

          204.    All current student-athletes at Division I HBCUs, including Plaintiff J’TA

  Freeman, are currently at risk of irreparable harm, i.e, racially discriminatory interference with the

  making and enforcing of valid contracts (NLIs) and conspiracy to deprive them of their rights and

  privileges, , due to the NCAA’s enforcement of the APP and disproportionate levying of APR-

  related penalties upon HBCU teams.


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         205.     This harm, including lost postseason access, lost opportunities, and lost future

  revenue and career advancement, cannot be undone, reversed, or adequately remedied by monetary

  compensation.

         206.     Proactive injunctive relief is necessary to eliminate the increased risk and protect

  Plaintiff J’TA Freeman and current student-athletes at Division I HBCUs. This common risk of

  irreparable harm is higher than the general societal risk of these harms and is directly traceable to

  the actions and inactions of Defendants.

                       V.     TOLLING OF STATUTE OF LIMITATIONS

         207.     The running of any applicable statute of limitations has been tolled by reason of the

  discovery rule, Defendants’ fraudulent concealment, and/or Defendants’ continuing violations.

         208.     The NCAA’s racial discrimination and tortious conduct has been continuous and

  ongoing since at least the inception of the APP until present. Each penalty and postseason ban

  constitute a new injury; a new discriminatory interference with Plaintiffs’ and the Class members’

  right to make and enforce contracts; and a new act of fraud.

         209.     At the time that Plaintiffs Manassa’s and Dasent’s SSU basketball team received a

  postseason ban, Plaintiffs did not know, and did not have enough information as laypeople to

  know, that the ban and their causally-related injuries were a result of intentional discrimination.

         210.     Moreover, the NCAA insisted—and continues to insist—that the APP and

  postseason bans are applied fairly, do not discriminate against Black student-athletes or HBCUs,

  and are equitable. The NCAA controls the data surrounding APR calculation, the identity of LRIs,

  and the discriminatory effects of its APP penalties. It concealed from Plaintiffs and the Class

  members these facts and the true, racially discriminatory nature of the APP.




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          211.    Plaintiffs and the Class members were unaware and could not have reasonably

  known or learned through reasonable diligence, that the NCAA and its APP discriminated against

  them.

          212.    Moreover, the NCAA’s discriminatory acts and decisions—a pattern made over

  time—made it difficult if not impossible for Plaintiffs to determine the actual date of

  discrimination.

                                  VI.     CLASS ALLEGATIONS

          213.    Plaintiffs bring this action on behalf of the following “Nationwide Class” pursuant

  to Federal Rules of Civil Procedure 23(a), 23(b)(2), 23(b)(3), and/or 23(c)(4): “All Black student-

  athletes who participated in Division I HBCU athletic teams that were subjected to a postseason

  access ban from the 2010-11 school year through the date of class certification, including but not

  limited to those teams listed in Appendix A.”

          214.    Plaintiff J’TA Freeman also brings this action on behalf of the following “Current

  DI HBCU Subclass” pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), 23(b)(3), and/or

  23(c)(4): “All Black student-athletes who participated in Division I NCAA sports at Historically

  Black Colleges and Universities at any time during the 2020/21 school year through the date of

  class certification.”

          215.    Plaintiff J’TA Freeman also brings this action on behalf of the following “District

  of Columbia Subclass,” pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), 23(b)(3),

  and/or 23(c)(4): “All Black student-athletes who participated in Division I NCAA sports at

  Historically Black Colleges and Universities located in the District of Columbia during the

  2010/11 school year through the date of class certification.”




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         216.    Plaintiffs reserve the right to modify or amend the class definitions, including the

  addition of one or more subclasses, after they have the opportunity to conduct discovery.

         217.    Excluded from the Classes are Defendants and any of their affiliates, parents,

  subsidiaries, officers, and directors; any entity in which Defendants have a controlling interest; all

  persons who make a timely election to be excluded from the class; governmental entities; and all

  judges assigned to hear any aspect of this litigation, including their immediate family members.

         218.    Numerosity: There are 23 Division I HBCUs, each of which has had hundreds (if

  not thousands) of Black student-athletes since 2010. As such, the members of the Class and

  Subclasses are so numerous that joinder is impractical.

         219.    Typicality: Plaintiffs’ claims are typical of the claims of each class member in that

  all Plaintiffs, like all class members, are and were NCAA student-athletes at Division I HBCUs.

  Plaintiffs and the Class and Subclass members were injured through NCAA’s implementation and

  enforcement of the APP program, which purposefully discriminates on the basis of race and

  interferes with the student-athletes’ ability to make and enforce contracts. Thus, Plaintiffs are

  advancing the same legal theories on behalf of themselves and the Class and their respective

  Subclasses.

          220.    Adequacy: Plaintiffs will fairly and adequately protect the interest of the Class and

  Subclasses. Plaintiffs’ interests and the interests of all other members of the Class and Subclasses

  are identical, and Plaintiffs are cognizant of their duty and responsibility to the Class and

  Subclasses. Accordingly, Plaintiffs can fairly and adequately represent the interests of the Classes.

  Moreover, Plaintiffs’ counsel is competent and experienced in litigating class actions, including

  litigation of this kind. Plaintiffs and counsel intend to vigorously prosecute this case and will fairly

  and adequately protect the Classes’ interests.



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         221.    Commonality and Predominance: There are numerous questions of law and fact

  common to the Class and Subclasses, and these common questions predominate over any issues

  affecting only individual class members. Common questions include:

                 a.      Whether the NCAA’s APP program discriminates against HBCUs and their

                         Black student-athletes, including Plaintiffs and the Class and Subclass

                         members;

                 b.      Whether that discrimination is intentional and race-based;

                 c.      Whether the NCAA’s discriminatory acts interfere with Plaintiffs’ and the

                         Class and Subclass members’ ability to make and enforce contracts;

                 d.      Whether the NCAA’s conduct has caused Plaintiffs and the Class and

                         Subclass members injury; and

                 e.      The scope of the injunctive relief and damages to which the Plaintiffs and

                         members of the Subclasses are entitled.

         222.    Superiority: A class action is superior to any other available means for the fair and

  efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered

  in the management of this class action. The purpose of a class action is to permit litigation against

  wrongdoers even when damages to an individual plaintiff may not be sufficient to justify

  individual litigation. Individual litigation by each class member would also strain the court system,

  create the potential for inconsistent or contradictory judgments, and increase the delay and expense

  to all parties and the court system. In sum, the class action presents far fewer management

  difficulties and provides the benefits of a single adjudication, economies of scale, and

  comprehensive supervision by a single court.




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          223.    Equitable Relief: Class certification is also appropriate under Rule 23(b)(2) because

  Defendants have acted and refused to act on grounds generally applicable to the Classes as a whole,

  such that final injunctive relief is appropriate with respect to the Class and Subclasses as a whole.

  Such injunctive relief includes, but is not limited to, the implementation of systemic changes to

  prevent such conduct in the future as mentioned above.

          224.    This action is also properly maintainable under Rule 23(c)(4) in that particular

  issues common to the Class and Subclasses, examples of which are set out supra, are most

  appropriately and efficiently resolved via class action, and would advance the disposition of this

  matter and the parties’ interests therein.

                                    VII.       CAUSES OF ACTION

                                           COUNT I
                                  VIOLATION OF CIVIL RIGHTS
                                       (42 U.S.C. § 1981)

          225.    Plaintiffs incorporate by reference all preceding and subsequent paragraphs as if set

  forth in full herein.

          226.    Plaintiffs bring this claim on behalf of themselves and the Nationwide Class.

          227.    42 U.S.C. § 1981 (“Section 1981”) provides for the equality of United States

  citizens and prohibits racial discrimination in, among other things, the making and enforcement of

  contracts. “Making and enforcement of contracts” includes the making, performance,

  modification, and termination of contracts, and the enjoyment of all benefits, privileges, terms,

  and conditions of the contractual relationship.

          228.    Blacks are a protected class under Section 1981.

          229.    HBCUs are, by their very definition, Historically Black Colleges and Universities,

  and their students and student-athletes are predominantly if not exclusively Black. HBCUs were



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  established in the times of slavery and Jim Crow segregation to serve the educational needs of

  Blacks. Today, HBCUs continue “to serve a vital component of American higher education” for

  Blacks. 97

             230.      HBCU DI athletic teams are comprised of primarily if not exclusively Black

  student-athletes.

             231.      Plaintiffs and the Class are Black and members of a protected class. Plaintiffs and

  the Class have been accepted as student-athletes by Division I HBCUs and have executed NLIs.

             232.      NLIs are valid, binding contracts.

             233.      The NCAA knows that Plaintiffs are Black. The NCAA knows and has always

  known that HBCUs are Black institutions, which serve a unique, important, and historically-based

  mission not addressed by PWIs. The HBCU mission is to serve Black students who have been

  disadvantaged by systemic racism and discrimination and provide an educational environment and

  experience of inclusion and community—an aspect that many Black student-athletes at PWIs do

  not receive.

             234.      The NCCA’s adoption of the APP, including its penalty structure and postseason

  access bans, including the numerous preceding series of NCAA propositions and reforms,

  represent a pattern or practice of discrimination against Black student-athletes at HBCUs on the

  basis of race.

             235.      The NCAA’s continued enforcement of the APP, including its penalty structure and

  postseason access bans are intentionally discriminatory and were instituted because of race. As

  such, these acts violate Section 1981’s prohibition against purposeful discrimination.




  97
       U.S. Dept. Educ., Office of Civil Rights, supra, n. 13.

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            236.    The NCAA adopted and continues to enforce the APP and its postseason ban

  penalties to deny full participation and full NLI benefits to Black student-athletes at HBCUs,

  including Plaintiffs and the Class. Moreover, Black student-athletes at HBCUs are not able to

  enjoy all of the benefits, privileges, terms, and conditions of their contractual relationships as

  compared to similarly situated white student-athletes at PWIs.

            237.    The NCAA’s academic requirement programs have consistently discriminated

  against Black student-athletes at HBCUs. The NCAA claims that it created the APP in part to

  address the race-based discrimination alleged in previous civil litigation, as well as the low

  graduation rates of Black student-athletes as compared to white student-athletes. Accordingly, race

  was a but-for cause of the NCAA’s establishment of the APP program.

            238.    The NCAA claims that the APP’s purpose is to “provid[e] student-athletes with an

  exemplary educational and intercollegiate athletics experience in an environment that recognizes

  and supports the primacy of the academic mission of its member institutions, while enhancing the

  ability of student-athletes to earn a degree.” 98

            239.    However, the APP does not view HBCUs’ academic missions the same as their

  PWI counterparts’ academic missions.

            240.    The very foundation of HBCUs is and has always been to provide educational

  opportunities for the underserved Black community. In the eyes of the NCAA and in its decision-

  making, development, and implementation of the APP, that core mission is not only devalued, but

  is a detriment to HBCUs, for which they are penalized.

            241.    In short, the NCAA penalizes HBCUs for maintaining institutional missions that

  are unapologetically targeted towards addressing racial inequities and educating Black students



  98
       NCAA DIVISION I ACADEMIC PERFORMANCE PROGRAM MANUAL, supra, n. 59, at 1 (emphasis added).

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  who are also athletes. In contrast, PWIs are rewarded for their predominantly white student-athlete

  averages, oftentimes without regard to the true academic progress of their Black student-athletes.

         242.    If the NCAA truly valued the educational success of its student-athletes and wanted

  to address the negative impacts of its APP on Black student-athletes, it would compare “apples to

  apples” and take into account systemic variables such as socioeconomic status, academic

  preparation, and other disparities such as generational gaps in college-education and wealth.

         243.    HBCUs would be rewarded, rather than penalized, for taking the least advantaged

  Black student-athlete and providing him with a truly student-centered academic experience. The

  current NCAA APP system disincentivizes HBCUs from continuing their tradition and missions

  in exchange for negligible comparative resources. Indeed, the NCAA even suggested that a

  solution would be to “cap” the number of “high-risk student athletes at any given time.” HBCUs

  are caught in a paradox where their resources are continually limited and reduced by the APP

  penalties unless they are able to lift themselves up by their proverbial bootstraps.

         244.    The NCAA knows that the APP directly conflicts with HBCUs’ unique mission—

  created in response to hundreds of years of slavery, segregation, and discrimination—and yet

  persists in implementing and enforcing it in a racially-discriminatory manner.

         245.    The NCAA’s claims that the APP was developed to address the racially

  discriminatory impact on Black student-athletes at HBCUs are patronizing, at best, pretextual at

  worst, and discriminatory in violation of Section 1981 either way.

         246.    HBCU teams are 43 times more likely than PWI teams to sustain postseason bans.

  This significant disparity may in and of itself show intentional discrimination, particularly given

  the increasing, persistent disparities over the years and throughout numerous reform cycles.




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         247.    In addition to the substantial and significant disparate impact on HBCUs, there are

  numerous additional pieces of circumstantial evidence of the NCAA’s intentional discrimination

  against Black student-athletes at HBCUs. For example, the historical background of the NCAA’s

  decision-making process regarding its “academic reforms” and the various and multiple versions

  that ultimately resulted in the APP provide strong evidence of the NCAA’s knowledge, intent, and

  motive to implement the APP because of race and in violation of Section 1981.

         248.    To further cement and secure relegation of Black student-athletes at HBCUs to

  second class status, the NCAA provided the ultimate PWIs—the Power Five—with autonomy

  regarding key regulatory areas. Ironically, this very decision now gives the Power Five the ability

  to operate largely outside of the parameters of the NCAA’s substantive and procedural

  requirements. Black student-athletes at HBCUs, on the other hand, will continue to be subjected

  to the NCAA’s pretextual rules and procedures.

         249.    Finally, the NCAA’s intentional discrimination is further evidenced by the specific

  and direct statements and actions or inactions by NCAA’s decisionmakers regarding their

  intentions and knowledge around the APP’s purpose, impact, and history with respect to Black

  student-athletes at HBCUs. Regardless of whether the NCAA attributes its reform efforts to

  “helping” the Black student-athlete at HBCUs, its patronizing efforts are pretextual and made

  because of their race.

         250.    The NCAA’s purposeful discrimination directly and proximately caused Plaintiffs

  to be excluded from postseason access. As a result of the NCAA’s continued discriminatory acts,

  Plaintiffs and the Class thus have been denied the opportunity to make and perform contracts (the

  NLIs) and denied the benefits, privileges, terms, and conditions of that contractual relationship,

  including:



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               a. the ability to compete with their peers (and the benefits attendant thereto);

               b. the ability to further develop their athletic and professional careers;

               c. the ability to receive greater media exposure, coverage, and acclaim;

               d. participating in the pinnacle of college athletic competition;

               e. the ability to improve and achieve meaningful play-based metrics, which affects

                   subsequent career trajectory; and

               f. the ability to garner the attention of and access to recruiters and sponsors,

                   including the lucrative post-college benefits they offer.

            251.   In fact, Plaintiffs’ ability to enjoy the full, intended benefits of their NLIs is

  contingent upon their team’s APR and the penalties the NCAA elects to consistently levy against

  their HBCU team—neither of which the Black student-athlete knows at the time of contracting or

  can otherwise control. And because the APP uses a 4-year rolling average in its calculation,

  student-athletes are impacted by conduct occurring before they even matriculated from high

  school.

            252.   But for the NCAA’s purposeful discrimination, Plaintiffs and the Class members

  would have received the full, intended benefits of their NLIs. But for their race, they would not

  have suffered the loss of their legally-protected right to make and enforce contracts and to enjoy

  the benefits of those contracts.

            253.   As a direct and proximate result of the NCAA’s conduct, Plaintiffs and the Class

  have suffered and will continue to suffer injury, including lost opportunity, mental anguish,

  emotional distress, embarrassment, humiliation, and degradation. Plaintiffs and the Class have

  incurred and are entitled to compensatory, economic, consequential, and special damages.




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          254.    Plaintiffs and the Class are also entitled to punitive damages against the NCAA, in

  that its actions were undertaken maliciously, willfully, and/or with reckless or wanton disregard

  for the civil rights of Plaintiffs and the Class members.

                                           COUNT II
                                 VIOLATION OF CIVIL RIGHTS
                                      (42 U.S.C. § 1985(3))

          255.    Plaintiffs incorporate by reference all preceding and subsequent paragraphs as if set

  forth in full herein.

          256.    Plaintiffs bring this Count II on behalf of themselves and the Nationwide Class.

          257.    Defendants conspired for the purpose of depriving, either directly or indirectly,

  Black student-athletes at HBCUs from seeking the equal protection of the laws and from enjoying

  the equal rights, privileges and immunities of citizens under the laws of the United States and the

  various states of the United States, including but not limited to their rights to freedom of movement

  and travel, association and assembly, and right to contract; and their rights not to be enslaved nor

  deprived of life and liberty other than by due process of law.

          258.    Defendants intentionally discriminated against Black student-athletes at HBCUs to

  deprive them of the equal protection of, or equal privileges and immunities under, the law.

          259.    Plaintiffs and the class members were deprived of due process when they were

  banned from postseason play through the NCAA’s discriminatory creation and implementation of

  its APP, including its postseason access ban against teams, unrelated to the individual Black

  student-athlete’s circumstances.

          260.    Plaintiffs and the class members were deprived of their right to appeal their

  individual grievances as they had no knowledge of the impending team-wide penalties and bans

  when they signed their contractual NLI.



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         261.    Plaintiffs and the Class members were required to continue to stay, perform, and

  play for their NCAA banned schools under altered terms or lose educational scholarships, suffer

  potential further penalties regarding eligibility upon transfer to another school, and/or forego the

  freedom to attend an HBCU with all of its attendant advantages.

         262.    Plaintiffs and the Class members executed NLIs based on limited information that

  the Defendants should have disclosed and that they knew would impact the Plaintiffs and

  Black student-athletes’ decisions regarding their NLIs.

         263.    Defendants have conducted multiple and serial acts in furtherance of their

  conspiracy to deprive Black student-athletes at HBCUs through the creation and implementation

  of the APP and its attendant and repeated penalties against Black student-athletes at HBCUs. For

  example, over several decades and since the beginning of the NCAA’s introduction of its academic

  reform measures, Black student-athletes ta HBCUs have been banned from postseason play and

  subjected to multiple penalties.

         264.    Defendants’ actions were done with invidious discriminatory animus against

  Blacks and were effectuated through the implementation and imposition of programs that

  discriminated against Black student-athletes at HBCUs.

         265.    As a result of Defendants’ actions, Plaintiffs and the class members have suffered

  and will continue to suffer injury, including lost opportunity, mental anguish, emotional distress,

  embarrassment, humiliation, and degradation. Plaintiffs and the Class have incurred and are

  entitled to compensatory, economic, consequential, and special damages.

         266.    Plaintiffs and the Class are also entitled to punitive damages against the NCAA, in

  that its actions were undertaken maliciously, willfully, and/or with reckless or wanton disregard

  for the civil rights of Plaintiffs and the Class members.



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                                    COUNT III
             VIOLATION OF DISTRICT OF COLUMBIA HUMAN RIGHTS ACT
                           (D.C. CODE §§ 2-1401.01 et seq.)

          267.    Plaintiff J’TA Freeman incorporates by reference all preceding and subsequent

  paragraphs as if set forth in full herein.

          268.    Plaintiff J’TA Freeman brings this claim on behalf of herself and the District of

  Columbia Subclass.

          269.    Plaintiff Freeman and the members of the District of Columbia Subclass are Black

  and, as such, are members of a group protected under the District of Columbia Human Rights Act

  (“DCHRA”), D.C. Code § 2-1401 et seq., against discrimination on the basis of race.

          270.    Plaintiff and the members of the District of Columbia Subclass are Black student-

  athletes who matriculated from an HBCUs located in the District of Columbia, and as such are

  members of a group protected under the DCHRA, D.C. Code § 2-1401.01 et seq.

          271.    Plaintiff and the members of the District of Columbia Subclass were discriminated

  against by the NCAA on the basis of race and without regard to their individual merit.

          272.    The NCAA’s APP penalties discriminated against Black student-athletes at HBCU

  Howard University because of the Black student-athletes’ race and/or their matriculation at an

  HBCU, restricting and conditioning the use of and access to their institution’s educational

  facilities, services and programs, including athletic programs; and depriving them of an equal

  opportunity to participate in collegiate athletics, including postseason play, or to receive the

  benefits attendant thereto.

          273.    Plaintiff and other members of the District of Columbia Class suffered and will

  suffer injury as a result, including but not limited to loss of future earning potential, lost benefits,

  and emotional distress.



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         274.    As a result of Defendants’ actions, Plaintiff and the District of Columbia Subclass

  members have suffered and will continue to suffer injury, including lost opportunity, mental

  anguish, emotional distress, embarrassment, humiliation, and degradation. Plaintiff and the

  District of Columbia Subclass members have incurred and are entitled to compensatory, economic,

  consequential, and special damages, as well as injunctive relief.

         275.    Plaintiff and the District of Columbia Subclass are also entitled to punitive damages

  against the NCAA, in that its actions were undertaken maliciously, willfully, and/or with reckless

  or wanton disregard for the civil rights of Plaintiff and the District of Columbia Subclass.

                                  VIII. PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of the Classes, respectfully request

  that the Court enter a judgment on their behalf and against the NCAA, The Board of Governors of

  The National Collegiate Athletic Association, and The Division I Board Of Directors of The

  National Collegiate Athletic Association, and further grant the following relief:

         A.      Certify the proposed Class and Subclasses pursuant to the Federal Rules of Civil

  Procedure Rule 23(a), (b)(2), (b)(3) and/or (c)(4);

         B.      Designate Plaintiffs as representatives of the proposed Class and Subclasses, and

  Plaintiffs’ counsel as Class counsel;

         C.      Award injunctive relief;

         D.      Award Plaintiffs and Class members compensatory damages, punitive damages,

  statutory damages, equitable relief, and any other relief to which they are entitled under the law;

         E.      Award Plaintiffs and the Class members prejudgment interest, costs, and attorneys’

  fees; and




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          F.      Award to the Plaintiffs and Class members such other and further relief as the Court

  deems just and proper.

                                   DEMAND FOR TRIAL BY JURY

          Plaintiffs, individually and on behalf of the proposed Class and Subclasses, respectfully

  request a trial by jury as to all matters so triable.



  Dated: December 10, 2020                         Respectfully submitted,

                                                   /s/ William N. Riley
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                    EXHIBIT E
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION


   TROYCE MANASSA, et al.,

                   Plaintiffs,
                                                         No.: 1:20-cv-03172-RLY-MJD
                   v.

   NATIONAL COLLEGIATE
   ATHLETIC ASSOCIATION,

                  Defendant.


        PLAINTIFFS’ FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
               NATIONAL COLLEGIATE ATHLETIC ASSOCIATION

         Pursuant to Fed. R. Civ. P. 26 and 34, Plaintiffs hereby request that defendant National

  Collegiate Athletic Association (“NCAA”) produce for inspection the documents and

  electronically-stored information requested herein within 30 days to the law offices of RileyCate,

  LLC, 11 Municipal Drive, Ste. 320, Fishers, IN 46038, in accordance with the definitions and

  instructions that follow.

                                            DEFINITIONS

         1.      “Action” means the above-captioned putative class action.

         2.      “NCAA” means Defendant National Collegiate Athletic Association and all of its

  present and former officers, directors, board members, committees, consultants, employees,

  divisions, member conferences, member institutions, agents, representatives, and all other persons

  acting, or purporting to act, on behalf of any of the foregoing.

         3.      “Communication” and “Communications” are used in a comprehensive sense, and

  mean and include every conceivable manner or means of disclosure, transfer, transmittal, or

  exchange of oral, written, electronic, or other information, in the form of facts, ideas, inquiries, or

  otherwise, between or among one or more persons or entities, and include, without limitation, all
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  documents, writings, correspondence, memoranda, messages, meetings, conversations,

  discussions, conferences, agreements, e-mails, or other transmittal of information, whether face-

  to-face, by telephone, by mail, by facsimile, by computer, or otherwise, and further include,

  without limitation, all forms of electronic communications and messages.

         4.       “Complaint” means the operative Complaint filed in the above-captioned putative

  class action.

         5.       “Document” is defined to be synonymous in meaning and equal in scope to the

  usage of this term in Fed. R. Civ. P. 34(a), including, without limitation, electronic or computerized

  data compilations. A draft or non-identical copy is a separate document within the meaning of this

  term. The term “document” further includes, but is not limited to, any and all forms of recorded

  information, whether handwritten, printed, typed, or otherwise visually reproduced, electronically

  recorded or orally recorded, including all originals, revisions, and markups of drafts, and all files,

  documents, databases, e-mails, and other data maintained in computer-readable form. The term

  “document” specifically includes, but is not limited to: working papers; communications,

  including intra-company communications; minutes and records of meetings; letters; facsimile

  transmissions; telegrams; telephone bills and records; cables; records; books; summaries or records

  of personal conversations or interviews; legal pleadings; affidavits; deposition transcripts; trial

  transcripts; forecasts; statistical statements; accountants’ work papers; brochures; pamphlets;

  circulars; press releases; agreements; contracts; telephone messages, slips and logs; diary entries;

  electronic mail and messages of every kind; calendars; reports; evaluations; assessments; analyses;

  test results; correspondence; memoranda; notes; video recordings of every kind; audio recordings

  of every kind; electronic recordings of every kind; drawings; graphics; graphs; maps; diagrams;

  charts; photographs; tables; indices; recordings; tapes; microfilms; reports of investigations;

  opinions or reports of consultants; data processing and computer printouts, tapes, disks, and data

  and information stored in computers or data processing equipment, together with programs and

  program documentation necessary to utilize or retrieve such data or information; all other

  mechanical or electronic means of storing or recording data or information; and any other data

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  compilation from which information can be obtained and translated through detection devices into

  reasonably usable form.

          6.       “Identify,” with respect to documents, means to give, to the extent known, the type

  of document, the general subject matter, the nature and substance thereof, the date it bears, the date

  it was prepared, the identity or identities of the author or authors thereof, the identity of each

  addressee, and the present location of the document. In lieu of identifying any document, identical

  copies thereof may be furnished. When used in reference to any act, state the event or events

  constituting such act, occurrence, occasion, transaction, or conduct, its location, the date and place

  thereof, the identity of the persons participating, present or involved, and the identity of any and

  all documents that relate or refer in any way thereto (including documents that have recorded,

  summarized, or confirmed, in whole or in part, the meeting, oral communications, conversation,

  or statement).

          7.       “You” or “Your” means NCAA.

          8.       “Named Plaintiffs” means Troyce Manassa and Austin Dasent.

          9.       “Division I” or “DI” refers to NCAA Division I.

          10.      “Member Conferences” refers to the “groups of colleges and/or universities that

  conduct[] competition among [their] members and determine[] a conference champion in one or

  more sports (in which the NCAA conducts championships or for which it is responsible for

  providing playing rules for intercollegiate competition), duly elected to conference membership

  under    the     provisions    of   the   bylaws       of   the   Association”    in    Division    I.

  https://www.ncaa.org/about/who-we-are/membership/becoming-ncaa-member-institution.

          11.      “Academic requirements” refers to any program(s), rules, regulations, or

  requirements relating to the academic performance of Division I student-athletes, teams, and/or

  NCAA Member Institutions.

          12.      “Academic Performance Program” or “APP” refers to the NCAA’s Academic

  Performance Program.



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         13.     The phrases “Historically Black Colleges and Universities” and “HBCUs” include

  those NCAA member institutions recognized pursuant to the Higher Education Act of 1965, as

  amended, which defines an HBCU as “…any historically black college or university that was

  established prior to 1964, whose principal mission was, and is, the education of black Americans,

  and that is accredited by a nationally recognized accrediting agency or association determined by

  the Secretary [of Education] to be a reliable authority as to the quality of training offered or is,

  according to such an agency or association, making reasonable progress toward accreditation.”

         14.     “Member institution” refers to an active member (at any time during the relevant

  period) in NCAA Division I as defined by the NCAA.

         15.     “NLI” refers to the “National Letter of Intent.”

                                          INSTRUCTIONS

         1.      All documents that exist in electronic format are to be produced in their native

  format, or in another mutually agreeable format that provides Plaintiffs with all metadata

  associated with such electronic documents and allows Plaintiffs to search and organize such

  electronic documents in a manner that is as effective and efficient as that enjoyed by the producing

  party. Even if an alternative format is agreed to by the parties for some documents, (i) all excel

  spreadsheets, powerpoint presentations, or any other documents containing embedded data,

  instructions, or notes should be produced in native format; and (ii) any documents which contain

  color should be produced in color regardless of production format. Production format shall not be

  a reason for delayed production.

         2.      All documents produced must be produced in their entirety, including all

  attachments and enclosures, and in their original folder, binder, or other cover or container unless

  it is not possible to do so. Whenever a document or group of documents is removed from a file

  folder, binder, file drawer, file box, notebook, or other cover or container, a copy of the label of

  such cover or other container must be attached to the document(s).

         3.      For any communication produced, any document referenced therein shall be

  produced.

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         4.        If any document was, but is no longer, in Your possession or subject to Your

  control, state whether it (a) is missing or lost, (b) has been destroyed, (c) has been transferred,

  voluntarily or involuntarily, to others, or (d) has been otherwise disposed of, and, in each instance,

  explain the circumstances of such disposition, and state the approximate date thereof.

         5.        As used herein, reference to any entity, company, corporation, organization, and/or

  agency includes its former and present directors, members, partners, predecessors, subsidiaries,

  divisions, affiliates, committees, employees, staff, consultants, independent contractors, and/or

  actual and apparent agencies.

         6.        In the event that you claim a document is privileged, you shall provide a privilege

  log to Plaintiffs, pursuant to Fed. R. Civ. P. 26(b)(5). You shall produce privilege logs on a rolling

  basis and shall not delay the production of non-privileged documents because of the preparation

  of a privilege log. A privilege log for documents redacted on privilege or attorney work product

  grounds shall, however, generally be produced within fifteen (15) days of production of the

  redacted materials. Privilege logs shall be produced in both PDF and Excel spreadsheet format,

  and shall contain at least the following information for each document withheld or redacted on the

  grounds of privilege or as asserted attorney work product: Bates range, date, applicable privilege,

  subject, and names associated with the document (with author, recipient, carbon copy recipient,

  and blind carbon copy recipient, if apparent from the document), and a description of the basis of

  the privilege.

         7.        The use of the singular form of any word includes the plural and vice versa.


                                      DOCUMENT REQUESTS

         1.        All documents relating to the Named Plaintiffs.

         2.        Documents sufficient to show the organizational structure of NCAA’s

  committee(s), employee(s), agent(s), and division(s) responsible for creating, approving,

  implementing, reviewing, evaluating, analyzing, administering, and enforcing academic


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  requirements, including the Academic Performance Program.

         3.      Documents sufficient to identify all third parties retained by the NCAA to review,

  evaluate, or analyze academic requirements, including the Academic Performance Program.

         4.      Documents sufficient to show NCAA’s document retention, destruction, deletion,

  and disposal policies and practices for all systems and databases that may contain discoverable

  information.

         5.      All documents referenced in, identified in, or reviewed in preparation for

  Defendant’s Answers to Plaintiffs’ Interrogatories.

         6.      All documents identified in NCAA’s Initial Disclosures.

         7.      All insurance policies that may provide coverage for the issues raised in this action.

         8.      All defense and/or indemnification agreements or insurance agreements you have

  regarding this Action, the allegations of Plaintiffs’ Complaint, and/or your defenses to said Action

  and allegations.

                                      National Letters of Intent

         9.      All document relating to the NCAA’s management of the NLI program.

         10.     All documents relating to the NCAA’s relationship with the Collegiate

  Commissioners Association.

         11.     All documents relating to the nature of the binding agreement between a

  prospective student-athlete and an NLI member institution.

         12.     All documents relating to the responsibility of the NCAA with respect to the NLIs,

  including, but not limited to, enforcing the NLIs.

         13.     All documents relating to any delegation of authority from the member institutions

  or any other entity to the NCAA to enforce the NLIs.



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         14.     All documents relating to the NCAA’s enforcement of penalties on student-athletes

  for not fulfilling the NLI agreement.

         15.     All documents relating to the NCAA’s enforcement of the recruiting prohibition

  applied after a prospective student-athlete signs the NLI.

         16.     All documents identifying the NLI member institutions.

         17.     Documents sufficient to identify all decisions, whether or not judgments or final,

  in which a court or arbitrator has determined that (i) the NCAA owes, or may owe, a duty to one

  or more student-athletes; (ii) the NCAA has, or may have, a contractual relationship with one or

  more student-athletes.

                      Metrics and Demographics of Division I Student-Athletes

         18.     All documents analyzing the race, ethnicity, resources, and/or academic

  background of Division I student-athletes as a composite group at the division, conference,

  member institution, or team levels.

         19.     All data reflecting the race, ethnicity, resources, and academic background of

  Division I student-athletes including, but not limited to, race, ethnicity, student home address and

  census tract at the time of initial eligibility, family financial information, scholarships or grants-

  in-aid, high school graduation year, high school grade point average, college entrance exam score,

  and any and all other collected data.

         20.     All documents analyzing, reporting, or tracking racial or ethnic differences or

  disparities, including, but not limited to, discrimination, in Division I sports.

                                             Division I APP

         21.     Documents sufficient to identify DI initial eligibility requirements from 2000 to

  present.



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           22.   All documents relating to the NCAA’s Academic Performance Program, including,

  but not limited to, the development, modification, administration, modeling, formula, application,

  and enforcement thereof.

           23.   All documents relating to APP penalties imposed upon member institutions and/or

  teams.

           24.   All data relating to the demographics of teams that did not meet the APR cut score

  for any given year, including, but not limited to, data disaggregated by year, member institution,

  team, and student. With respect to each student, the data should include, but not be limited to, race

  and ethnicity, student home address, and census tract at the time of initial eligibility.

           25.   All data relating to the Graduation Success Rate, Academic Progress Rate, and

  related metrics for teams that did not meet the APR cut score for any given year. With respect to

  each student, the data should include, but not be limited to, the student’s eligibility status, whether

  the student received financial aid based on athletic ability, whether the student-athlete was retained

  for the next term, and any other student-specific data upon which the Graduation Success Rate,

  Academic Progress Rate, and APP penalties, exceptions, filters, appeals, or waivers are evaluated.

           26.   All documents relating to the Academic Progress Rate, including, but not limited

  to, the development, modification, administration, modeling, formula, and application thereof.

           27.   All documents relating to the Graduation Success Rate, including, but not limited

  to, the development, modification, administration, modeling, formula, and application thereof, as

  well as including the Federal Graduation Rate.

           28.   All documents relating to Academic Progress Rate Public Recognition Awards.

           29.   All data relating to the demographics of teams that received Academic Progress

  Rate Public Recognition Awards, including, but not limited to, data disaggregated by year, member



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  institution, team, and student. With respect to each student, the data should include, but not be

  limited to, race and ethnicity and student home address and census tract at the time of initial

  eligibility.

          30.    All data relating to the Graduation Success Rate, Academic Progress Rate, and

  related academic metrics for teams that received Academic Progress Rate Public Recognition

  Awards, including, but not limited to, whether the team received any exceptions or waivers. With

  respect to each student, the data should include, but not be limited to, eligibility status, whether

  the student received financial aid based on athletic ability, whether the student-athlete was retained

  for the next term, and any other student-specific data upon which the Graduation Success Rate,

  Academic Progress Rate, and APP penalties, exceptions, filters, appeals, or waivers are evaluated.

          31.    All analyses regarding any requested, granted, denied, and/or applied APP waivers,

  exceptions, reconsiderations, filters, and appeals.

                                          NCAA Governance

          32.    All documents relating to the Division I Committee on Academic Performance

  including, but not limited to, meeting minutes, agendas, e-mails, communications, meeting

  participants, membership lists, research, recommendations, and reports.

          33.    All documents relating to the Committee on Academics, including, but not limited

  to, meeting minutes, agendas, e-mails, communications, meeting participants, membership lists,

  research, recommendations, and reports.

          34.    All documents relating to the Division I Academic Cabinet with respect to the APP,

  Academic Progress Rate, Graduation Success Rate, and/or initial eligibility requirements.

          35.    All documents relating to the Academics/Eligibility/Compliance Cabinet with

  respect to the APP, Academic Progress Rate, Graduation Success Rate, and/or initial eligibility



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  requirements.

         36.      All documents relating to the NCAA Board of Governors with respect to the APP,

  Academic Progress Rate, Graduation Success Rate, and/or initial eligibility requirements.

         37.      All documents relating to the reasons for the creation of the Historically Black

  Colleges and Universities and Limited Resource Institution Academic Advisory Group.

         38.      All documents regarding the Historically Black Colleges and Universities and

  Limited Resource Institution Academic Advisory Group, including, but not limited to, meeting

  minutes, agendas, e-mails, communications, meeting participants, membership lists, research,

  recommendations, and reports.

         39.      All documents relating to the NCAA’s Accelerating Academic Success Program,

  including, but not limited to, the identification of the member institutions that have participated in

  the program.

         40.      All documents relating to the Supplemental Support Fund, including its creation,

  implementation, administration, and (if applicable) conclusion.

         41.      All documents relating to the Limited Resource Institution Pilot Program, including

  its creation, implementation, administration, and (if applicable) conclusion.

         42.      All documents regarding the NCAA’s plan to advance racial equity, outlined at

  https://www.ncaa.org/about/resources/inclusion/planning-advance-racial-equity.

                                                    HBCUs

         43.      All communications between the NCAA and any HBCU (or agent or employee

  thereof) relating to APP, Academic Progress Rate, Graduation Success Rate, and/or initial

  eligibility requirements.

         44.      All documents relating to the actual or potential transition of any HBCU or HBCU



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  team out of Division I.

         45.     For any HBCU team that transitioned out of DI, all documents and data relating to

  the APP and demographics of any teams penalized by the NCAA relating to academics.

                                              Research/Studies

         46.     All research, studies, analyses, or reviews conducted by you or on your behalf or

  of which you are aware relating to:

                    a. DI member institutions’ performance under NCAA academic requirements,

                        including the APP;

                    b. the performance of HBCUs versus other DI member institutions under

                        NCAA academic requirements, including the APP;

                    c. the effects and/or impact of NCAA academic requirements, including the

                        APP, upon:

                             i. Division I member institutions and their teams;

                             ii. DI HBCUs and their teams;

                            iii. DI Predominantly White Institutions (PWIs) and their teams;

                            iv. DI Black student-athletes;

                             v. DI Black student-athletes at HBCUs;

                            vi. DI Black student-athletes at PWIs; and/or

                            vii. DI white student-athletes at PWIs.

                                 Complaints/ Investigations

         47.     All documents relating to any investigation or inquiry by any state or federal

  governmental body or authority of the NCAA relating to the APP.

         48.     All documents relating to any investigation or inquiry by any state or federal



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  governmental body or authority of the NCAA relating to discrimination against any member

  institution or student-athlete based on race, ethnicity, or enrollment at or status as an HBCU.

         49.     All documents relating to any investigations, allegations, grievances, or complaints,

  whether formal or informal, public or private, relating to Division I academic requirements and

  programs, including, but not limited to, the APP.

         50.     All documents related to investigations, allegations, grievances, or complaints,

  whether formal or informal, public or private, relating to racial or ethnic discrimination by the

  NCAA of its student-athletes, Conferences, or member institutions, including, but not limited to,

  enrollment at or status as an HBCU.

                                      Savannah State University

         51.     All documents relating to the application of NCAA academic requirements to

  Savannah State University, including, but not limited to, application of the APP and its penalty

  structure.

         52.     Communications between the NCAA and SSU, including, but not limited to, SSU’s

  submissions to the NCAA regarding or relating to the APP.

                                        Financial Information

         53.     All documents and data related to the NCAA’s “Limited Resource Institution”

  designation procedures and designations for each year and team/Institution.

         54.     Documents evidencing the institutional membership of each Conference during

  each year.

         55.     Documents regarding the creation, development, adoption, and application of any

  Division I restructuring, including the 2014 changes that provided additional “flexibility” to certain

  Conferences.



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         56.     Documents evidencing the financial resources provided by the NCAA to each

  NCAA Division I team, Institution, and/or Conference on an annual basis, broken down by

  Conference, Institution, team, and year.

         57.     Documents evidencing the financial resources provided by each Division I

  Conference to its member institution teams on an annual basis, broken down by Institution, team,

  and year.

         58.     Documents evidencing the financial resources provided by each Division I

  institution to its athletic programs and/or student-athletes on an annual basis, broken down by

  student athlete, team, and year (e.g., Membership Financial Reporting System data).

         59.     Documents evidencing each Institution’s financial resource expenditure and

  allocation per student-athlete.

         60.     Documents evidencing each Institution’s financial resource allocations for

  academic assistance to student-athletes including tutoring, administrative assistance, academic

  advising, and academic counseling.




  DATED: October 27, 2021                            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 27th day of October 2021, a copy of the foregoing was served

  via e-mail to:

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  DATED: October 27, 2021                            Respectfully submitted,

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